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            EXHIBIT2
            EXHIBIT 2
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Kern Studios LLC                                                                               Lagotronics Philippines Inc.
1380 Port of New Orleans Place                                                                 Sitio Cubol,
                                                                                               BarangaySapalibutad
New Orleans, LA 70130                                                                          2009 Angeles City
Attn: Caskey Miller                                                                            Pampanga, Philippines
Email: caskey@kernstudios.com
                                                                                               Contact Details:
                                                                                               Netherlands:
                                                                                               Tel.: +31 653 122 579 (NL)
                                                                                               carlo.gortjes@lgholding.nl

                                                                                               Philippines:
                                                                                               sales@lagotronics.ph
                                                                                               jdm09.lagotronics.ph@gmail.com

                                                                                               Tel.: +63 917 176 2378 (PHL)
                                                                                               www.lagotronics.ph

Philippines, 31 March 2020                   Your ID: Caskey Miller                       Project: KERN-UBR Floats
                                             Our ID: Carlo Gortjes                        Subject: 200331JDM01 Pony Float
                                                                                          A, B, and C Quote

    A.   General
         As a part of the Universal Beijing Floats project, Universal Studios asked Kern Studios to send a proposal in building Pony
         Floats A, B, and C with float number 719-602-FLT-017, 018, and 019.

    B.   Scope of Works

         1.    Pony Float A, B, C

               a.   Inclusions
                              Assembly of SCC/OCC box as per UBR standards
                              Installation of boxes and laying of cables in the float
                              Installation of lights in the floats (Show light and Character Lighting)
                              Initial programming
                              FAT (Factory Acceptance Test) (see quote 200430JDM01 UBR Float- FAT quote)
                              Final programming upon FAT to be directed by UBR (see quote 200430JDM01 UBR Float- FAT quote)

               b.   Labour Breakdown

                                                                                Man power             Man hours             Total Man hours
                    Project Manager                                               1 pax                10 hours                 10 hours
                    Supervisor                                                    1 pax                20 hours                 20 hours
                    Mechanical Technician                                         0 pax                0 hours                  0 hours
                    Electronics Technician                                        2 pax                80 hours                160 hours
                    Programmer                                                    1 pax                16 hours                 16 hours
                    Installation                                                  2 pax                40 hours                 80 hours
                                                                      Total                                                    286 hours

               c.   Exclusions
                              SAT (Site Acceptance Test) to be done in Beijing, China
                              Installation on-site (Beijing, China)




200331JDM01 Pony Float A, B, and C Quote                                                                                      Page 1 of 8
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                  d.   Materials Overview
                       In reference to the DDR documents of Pony A, B, and C as of March 31, 2020

Enclosure
                                                                                          IP66 Sheet Steel Wall Boxes, AE series
                                                                                          The AE series wall box from Rittal has a strong
                                                                                          unibody construction which has been dipcoat-
                                                                                          primed and powder coated in a textured light
                                                                                          grey finish for added corrosion protection. The
                                                                                          door is interchangeable allowing it to be
                                                                                          mounted on either side of the enclosure and is
                                                                                          fitted with 2 cam locks and a foam gasket. The
                                                                                          enclosure is also supplied with a gland plate in
                                                                                          the base and a zinc plated mounting plate.
                                                                                          IP66 protection
Rittal                                                                                    Made from sheet steel
                                                                                          Outside of enclosure is dipcoat-primed and
                                                                                          powder coated (RAL 7035 light grey)
                                                                                          Door interchangeable, 130° opening
                                                                                          Door fitted with 2 cam locks and foam gasket
                                                                                          Pre-punched for wall mounting brackets and
                                                                                          interchangeable doors

                                                                                          Approvals and Certifications
                                                                                          IP66 to EN 60 529/10.91, NEMA Type 4.
                                                                                          UL, CSA, TUV, VDE
Devices to be
used




                                                                                          Complete fan unit for tool-free mounting on
                                                                                          surfaces. Air throughput from 20 - 900 m³/h,
                                                                                          protection category IP 54 as standard.
Exhaust Fan-
Rittal                                                                                    Approvals and Certifications
                                                                                          UR/cUR, UL/cUL- FTTA, CSA, EAC




                                                                                          1. Work Voltage: DC12V /DC24V
                                                                                          2. LED QTY: 120Pcs SMD2835
                                                                                          3. PCB width:8MM/10MM, PCB color:white color
                                                                                          4. Led view angle: 120 degree
Service Lights-
                                                                                          5. Power comsuption: 20W/M
GreeLED                                                                                   6. Package: 5M/Reel
                                                                                          7. Luminous Flux: 22-24lum/led
                                                                                          8. CCT Options:2800-3200K/4000-4500K/6000-
                                                                                          6500K




200331JDM01 Pony Float A, B, and C Quote                                                                                      Page 2 of 8
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                                                           System pro M compact S200M miniature circuit
                                                           breakers are current limiting. They have two
                                                           different tripping mechanisms, the delayed
                                                           thermal tripping mechanism for overload
                                                           protection and the electromechanic tripping
                                                           mechanism for short circuit protection. They are
                                                           available in different characteristics (B,C,D,K,Z),
                                                           configurations (1P,1P+N,2P,3P,3P+N,4P),
Circuit Breakers-                                          breaking capacities (up to 10 kA at 230/400 V
ABB                                                        AC) and rated currents (up to 63A). All MCBs of
                                                           the product range S200M comply with IEC/EN
                                                           60898-1 and IEC/EN 609 47-2, allowing the use
                                                           for residential, commercial and industrial
                                                           applications. Bottom-fitting auxiliary contact
                                                           can be mounted on S200M to save 50% space.

                                                           Approvals and Certifications
                                                           IEC/EN 60898-1, IEC/EN 60947-2, CCC




                                                            End holes can be used to fix busbar to a
                                                             support or connect the main input conductor
                                                            Heavy-duty power connection
                                                            Circuit breaker, generator and prefabricated
                                                             power network conductor
                                                            Alternative to large and multiple cables
                                                            Earth/ground connection
                                                            Power distribution
Busbars- nVent                                              Rounded edges

                                                           Approvals and Certifications
                                                           UL2885, IEC 60754-1, IEC 62821-2, IEC 60695-2-11
                                                           (Glow Wire Test 960°C), IEC 61439.1, IEC 61439.1
                                                           Class II, CE, RoHS, EN 45545: HL2 classification,
                                                           Bureau Veritas (Marine & Offshore),EAC,ABS
                                                           American Bureau of Shipping




                                                           Typically used in DC power systems in marine
                                                           applications (as a main or branch circuit
                                                           breaker), truck and bus systems, RV systems,
                                                           add-on protection for accessories, lift gates, etc.
Busbars- Eaton                                             This unit is external ignition protected and
                                                           weatherproof.

                                                           Approvals and Certifications
                                                           ABYC E-11; CE; SAE J1171 (ignition protected)




200331JDM01 Pony Float A, B, and C Quote                                                         Page 3 of 8
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                                                            Realized about 25% lower profile than
                                                             conventional products, contributing to further
                                                             miniaturization of the control panel.
                                                            Optimal slim, high frequency, high-speed
                                                             opening and closing
                                                            SSR (solid state relay).
                                                            Realized a slim shape with a switching
                                                             capacity up to 3 A (DC), and 2 A (AC).
                                                            Because MOSFET is used for the outlet
                                                             element for the DC load, opening and
                                                             closing load of 100 μA to 3 A is possible.
                                                            Check operating status at a glance at the
SSR- Omron                                                   operating display LED.
                                                            Mounted I/O SSR (solid-state relay) uses plug-
                                                             in terminals that are difficult to bend when
                                                             exchanging.
                                                            G2RV-SR featuring a general-purpose relay
                                                             similar in shape to G3RV-SR also available.

                                                           Approvals and Certifications
                                                           UL 508 (file No.E64562), TÜV(EN 62314), CE




                                                            ProCommander 3: Comprehensive Show
                                                             Control Solution
                                                            Engineered using the highest level of quality
                                                             standards, this controller supports a wide
                                                             variety of industry standard I/Os.
                                                            16 digital outputs at 48VDC/500ma
                                                            16 digital inputs OR 8 digital and 8 analog
                                                            3 RS-232 serial ports (1 RS-485 capable with
                                                             adapter)
                                                            512 channels of DMX in/out
                                                            4 Analog outputs
Controllers-                                                4 servo outputs
Procommander                                                On-board Ethernet
                                                            High power MOSFET Transistors
3
                                                            Mounts in 1/2 rack space
                                                            High powered on-board class-D stereo amp
                                                            Integrated DMX merger with LTP, HTP modes
                                                            Integrated MicroSD storage for
                                                             audio/timeline data
                                                            Battery, solar and charging capable
                                                            8 high powered relays optional
                                                            IR remote control available

                                                           Approvals and Certifications
                                                           CE, EN




                                                            DMX distributor with one input and 4 isolated
                                                             outputs.
                                                            Electrical isolation between input and
                                                             output, and between 4 outputs themselves.
Controllers- DMX                                            Every DMX output features an independent
Booster 4                                                    driver for DMX data (+) & data (-) and shown
                                                             at each indicator.
                                                            DMX booster provides the isolation
                                                             protection from a malfunction caused by the
                                                             external DMX input.




200331JDM01 Pony Float A, B, and C Quote                                                       Page 4 of 8
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                                                              RGB color (3 channels) intensity can be
                                                               adjusted independently
                                                              Allows to select 350mA/700mA output
                                                               current by selecting the dipswitch on the
Controllers-                                                   PCB
Dimmer 3 HD                                                   DMX address setting by dipswitch
                                                              DMX control mode, manual mode, and auto
                                                               mode are available
                                                              Synchronize up to 32 units in series with built-
                                                               in program




                                                           The rugged series of TWND switches offers both
                                                           variety and durability in an attractive design.
                                                           With button sizes up to 2 9/16” (65mm), chrome
                                                           plated zinc locking rings, die cast zinc mounting
                                                           threads, steel anti-rotation rings, and self
                                                           cleaning contacts, the TWNDs are here to stay.
                                                           The TWND series also offers LED illumination in full
Switches and
                                                           voltage and transformer models. Regardless of
Indicators- IDEC                                           your switching needs, the NEW TWND series
                                                           provides the kind of long lasting, industrial
                                                           strength quality you’ve come to expect from
                                                           IDEC.

                                                           Approvals and Certifications
                                                           UL-E68961, CSA, TUV, CE, CCC




                                                              Rich color changing effect
                                                              Very long operation life in excess 50,000
                                                               hours
                                                              Low energy consumption- 12w
Lighting- DOT-80                                              Robust construction suitable for outdoor
                                                               application
                                                              Fully controllable by RDM/DMX
                                                              Built-in C/C Driver
                                                              DC24V input




                                                              High power CreeLED with 50,000 hours
Lighting- BLZ-52                                               operating time.




200331JDM01 Pony Float A, B, and C Quote                                                          Page 5 of 8
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   C. Price Overview

       Per Pony
       Activities                         Man      Man hour     Total Man     Labor Cost    Material Cost
                                          Power                 hour          (USD)         (USD)

       Labor
       Project Manager                     1 pax     10 hours      10 hours       415.80
       Supervisor                          1 pax     20 hours      20 hours       346.96
       Mech. Tech                          0 pax      0 hours      0 hours
       Elec. Tech                          2 pax     80 hours     160 hours      1,667.94
       Programmer                          1 pax     16 hours      16 hours       166.79
       Installation                        2 pax     40 hours      80 hours       833.97


       Materials
       Show Controls

                    Sub-system Control                                                         2,706.76

                           Distribution                                                        1,484.10

                            Controllers                                                        2,104.33

       Operations Control Console

                        OCC Switches                                                            675.88

       Light Fixtures                                                                          8,477.95

       Wiring and Connectors                                                                   2,914.19

       Indirect Cost

                           Office Cost                                                          579.58
           Tarlac Site General Cost
        (PM, Transportation, Driver,
             Toll, Daily Allowances,                                                           2,897.91
            Supervisor, Technician,
                       Programmer)
       Packing Materials to Tarlac
                                                                                                144.90
                                  Site
          Import costs of materials,
                                                                                               1,747.20
               Freight, duties, Taxes
       Product Sample/ Prototype
                                                                                               1,014.27
                 Development cost
       Installation Materials                                                                  1,304.06




200331JDM01 Pony Float A, B, and C Quote                                                             Page 6 of 8
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       Price Summary

                                        Labour      Material     Indirect   Installation
       Floats                                                                                   Total (USD)
                                     cost (USD)   Cost (USD)   Cost (USD)     Materials
       Pony A                          3,431.46    18,363.21     6,383.86       1304.06          29,482.59
       Pony B                          3,431.46    18,363.21     6,383.86       1304.06          29,482.59
       Pony C                          3,431.46    18,363.21     6,383.86       1304.06          29,482.59
                             Total    10,294.38    55,089.63    19,151.58       3912.18          88,447.77




       Total Price- Pony A, B, C                                                           USD 88,447.77
       Less Discount                                                                       USD 1,147.77
       Total Amount                                                                        USD 87,300.00




200331JDM01 Pony Float A, B, and C Quote                                                         Page 7 of 8
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   D.    Delivery Terms and Payment
    Exworks Angeles City Pampanga, Philippines
    Validity: 30 days from the date of this quote.
    Prices in USD exclusive VAT.
    Payment:
   * 50% upon ordering, within 7 days from date of invoice. Note that the work starts upon receipt of payment.
   * 50% upon project completion prior to shipping, within 7 days from date of invoice.
    Warranty: 12 months after hand over.
    Components or equipment manufactured by third parties and supplied to the Project will have the original
      manufacturer’s warranty. (like LCD screens, amplifiers, audio control units, loudspeakers, microphones, light equipment
      (Except LEDs, see above) or special effects equipment). When replacement is needed for any reason, Lagotronics Phil.
      Inc is not responsible for original manufacturer’s delivery time.
    This warranty consists of the pure and simple exchange of parts recognized as being defective or of their reconditioning
      in a workshop recommended. Lagotronics Phil. Inc should replace any defective part found during the warranty period
      as promptly as possible. Freight, customs and labor are not included. In case of an extraordinary defect, which requires
      specialist installation works that cannot be performed by BUYER’s maintenance department or cannot be handled
      through computer (internet connection) assistance and/or phone assistance, Lagotronics Phil. Inc and the Buyer will
      discuss the optimum way to resolve the issue.
    Lagotronics Phil. Inc shall provide full documentation of the PRODUCT during Factory Acceptance Test (FAT) and within 4
      weeks after Site Acceptance Test (SAT) “As build” updates. During set-up and programming we will include a 1-day
      training for the maintenance personnel on-site to take care of repairs and replacement of equipment.
    The warranty is declared null and void in case that:
      a.            BUYER or third party modifies the EQUIPMENT without Lagotronics Phil. Inc authorization;
      b.            BUYER proceeds to modify, alter or repair a defect without Lagotronics Phil. Inc authorization;
      c.            BUYER fails to take proper and quick action to limit the damage;
      d.            BUYER doesn’t grant Lagotronics Phil. Inc the opportunity to remove/remedy the defect.
    Lagotronics Phil. Inc is not responsible under this clause for any defects, which are due to vandalism or
      BUYER’s’ non-compliance to material written instructions.
    Lagotronics Phil. Inc warrants that the EQUIPMENT and equipment documentation as delivered shall be free from any
      and all defects in design, material, fabrication and workmanship, and that the EQUIPMENT and equipment
      documentation shall confirm to the description, specifications, specific considerations, fabrication criteria, and standards
      stated herein. Lagotronics Phil. Inc further warrants that the EQUIPMENT shall be of first class quality and fit for the purpose
      for which intended;
    Assembly work and assembly materials at theme park site are NOT included. The unit will be assembled in Angeles for
      FAT. Please see separate quote for on-site installation option.
    Any extra work and/or materials will be charged after written permission from the customer in accordance with the
      applicable rates at the time of commitment/purchase.
    All drawings and/or quotations and/or designs remain the property of Lagotronics Phil. Inc and may not be handed over
      to third parties for any purpose whatsoever.
       This agreement shall be governed by Philippine Law.




Carlo Görtjes
President




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Kern Studios LLC                                                                                Lagotronics Philippines Inc.
1380 Port of New Orleans Place                                                                  Sitio Cubol,
                                                                                                BarangaySapalibutad
New Orleans, LA 70130                                                                           2009 Angeles City
Attn: Caskey Miller                                                                             Pampanga, Philippines
Email: caskey@kernstudios.com
                                                                                                Contact Details:
                                                                                                Netherlands:
                                                                                                Tel.: +31 653 122 579 (NL)
                                                                                                carlo.gortjes@lgholding.nl

                                                                                                Philippines:
                                                                                                sales@lagotronics.ph
                                                                                                jdm09.lagotronics.ph@gmail.com

                                                                                                Tel.: +63 917 176 2378 (PHL)
                                                                                                www.lagotronics.ph

Philippines, 24 April 2020                  Your ID: Caskey Miller                        Project: KERN-UBR Floats
                                            Our ID: Carlo Gortjes                         Subject: 200424JDM01 Gloria’s
                                                                                          Balloon Quote

    A.   General
         As a part of the Universal Beijing Floats project, Universal Studios asked Kern Studios to send a proposal in building
         Gloria’s Balloon with float number 719-602-FLT-016.

    B.   Scope of Works

         1.   Gloria’s Balloon

              a.   Inclusions
                             Assembly of SCC/OCC box as per UBR standards
                             Installation of boxes and laying of cables in the float
                             Installation of lights in the floats (Show light and Character Lighting)
                             Initial programming
                             FAT (Factory Acceptance Test) (see quote 200430JDM01 UBR Float- FAT quote)
                             Final programming upon FAT to be directed by UBR (see quote 200430JDM01 UBR Float- FAT quote)

              b.   Labour Breakdown

                                                                                 Man power             Man hours             Total Man hours
                   Project Manager                                                 1 pax                10 hours                 10 hours
                   Supervisor                                                      1 pax                20 hours                 20 hours
                   Mechanical Technician                                           2 pax                80 hours                160 hours
                   Electronics Technician                                          2 pax                80 hours                160 hours
                   Programmer                                                      1 pax                24 hours                 24 hours
                   Installation                                                    2 pax                80 hours                160 hours
                                                                      Total                                                     534 hours

              c.   Exclusions
                             SAT (Site Acceptance Test) to be done in Beijing, China
                             Installation on-site (Beijing, China)




200424JDM01 Gloria's Balloon Quote                                                                                             Page 1 of 9
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                  d.   Materials Overview
                       In reference to the DDR documents of Gloria’s Balloon as of April 24, 2020

Enclosure
                                                                                             IP66 Sheet Steel Wall Boxes, AE series
                                                                                             The AE series wall box from Rittal has a strong
                                                                                             unibody construction which has been dipcoat-
                                                                                             primed and powder coated in a textured light
                                                                                             grey finish for added corrosion protection. The
                                                                                             door is interchangeable allowing it to be
                                                                                             mounted on either side of the enclosure and is
                                                                                             fitted with 2 cam locks and a foam gasket. The
                                                                                             enclosure is also supplied with a gland plate in
                                                                                             the base and a zinc plated mounting plate.
                                                                                             IP66 protection
Rittal                                                                                       Made from sheet steel
                                                                                             Outside of enclosure is dipcoat-primed and
                                                                                             powder coated (RAL 7035 light grey)
                                                                                             Door interchangeable, 130° opening
                                                                                             Door fitted with 2 cam locks and foam gasket
                                                                                             Pre-punched for wall mounting brackets and
                                                                                             interchangeable doors

                                                                                             Approvals and Certifications
                                                                                             IP66 to EN 60 529/10.91, NEMA Type 4.
                                                                                             UL, CSA, TUV, VDE
Devices to be
used




                                                                                             Complete fan unit for tool-free mounting on
                                                                                             surfaces. Air throughput from 20 - 900 m³/h,
                                                                                             protection category IP 54 as standard.
Exhaust Fan-
Rittal                                                                                       Approvals and Certifications
                                                                                             UR/cUR, UL/cUL- FTTA, CSA, EAC




                                                                                             1. Work Voltage: DC12V /DC24V
                                                                                             2. LED QTY: 120Pcs SMD2835
                                                                                             3. PCB width:8MM/10MM, PCB color:white color
                                                                                             4. Led view angle: 120 degree
Service Lights-
                                                                                             5. Power comsuption: 20W/M
GreeLED                                                                                      6. Package: 5M/Reel
                                                                                             7. Luminous Flux: 22-24lum/led
                                                                                             8. CCT Options:2800-3200K/4000-4500K/6000-
                                                                                             6500K




200424JDM01 Gloria's Balloon Quote                                                                                               Page 2 of 9
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                                                          System pro M compact S200M miniature circuit
                                                          breakers are current limiting. They have two
                                                          different tripping mechanisms, the delayed
                                                          thermal tripping mechanism for overload
                                                          protection and the electromechanic tripping
                                                          mechanism for short circuit protection. They are
                                                          available in different characteristics (B,C,D,K,Z),
                                                          configurations (1P,1P+N,2P,3P,3P+N,4P),
Circuit Breakers-                                         breaking capacities (up to 10 kA at 230/400 V
ABB                                                       AC) and rated currents (up to 63A). All MCBs of
                                                          the product range S200M comply with IEC/EN
                                                          60898-1 and IEC/EN 609 47-2, allowing the use
                                                          for residential, commercial and industrial
                                                          applications. Bottom-fitting auxiliary contact
                                                          can be mounted on S200M to save 50% space.

                                                          Approvals and Certifications
                                                          IEC/EN 60898-1, IEC/EN 60947-2, CCC




                                                           End holes can be used to fix busbar to a
                                                            support or connect the main input conductor
                                                           Heavy-duty power connection
                                                           Circuit breaker, generator and prefabricated
                                                            power network conductor
                                                           Alternative to large and multiple cables
                                                           Earth/ground connection
                                                           Power distribution
Busbars- nVent                                             Rounded edges

                                                          Approvals and Certifications
                                                          UL2885, IEC 60754-1, IEC 62821-2, IEC 60695-2-11
                                                          (Glow Wire Test 960°C), IEC 61439.1, IEC 61439.1
                                                          Class II, CE, RoHS, EN 45545: HL2 classification,
                                                          Bureau Veritas (Marine & Offshore),EAC,ABS
                                                          American Bureau of Shipping




                                                          Typically used in DC power systems in marine
                                                          applications (as a main or branch circuit
                                                          breaker), truck and bus systems, RV systems,
                                                          add-on protection for accessories, lift gates, etc.
Busbars- Eaton                                            This unit is external ignition protected and
                                                          weatherproof.

                                                          Approvals and Certifications
                                                          ABYC E-11; CE; SAE J1171 (ignition protected)




200424JDM01 Gloria's Balloon Quote                                                              Page 3 of 9
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                                                          Realized about 25% lower profile than
                                                           conventional products, contributing to further
                                                           miniaturization of the control panel.
                                                          Optimal slim, high frequency, high-speed
                                                           opening and closing
                                                          SSR (solid state relay).
                                                          Realized a slim shape with a switching
                                                           capacity up to 3 A (DC), and 2 A (AC).
                                                          Because MOSFET is used for the outlet
                                                           element for the DC load, opening and
                                                           closing load of 100 μA to 3 A is possible.
                                                          Check operating status at a glance at the
SSR- Omron                                                 operating display LED.
                                                          Mounted I/O SSR (solid-state relay) uses plug-
                                                           in terminals that are difficult to bend when
                                                           exchanging.
                                                          G2RV-SR featuring a general-purpose relay
                                                           similar in shape to G3RV-SR also available.

                                                         Approvals and Certifications
                                                         UL 508 (file No.E64562), TÜV(EN 62314), CE




                                                          ProCommander 3: Comprehensive Show
                                                           Control Solution
                                                          Engineered using the highest level of quality
                                                           standards, this controller supports a wide
                                                           variety of industry standard I/Os.
                                                          16 digital outputs at 48VDC/500ma
                                                          16 digital inputs OR 8 digital and 8 analog
                                                          3 RS-232 serial ports (1 RS-485 capable with
                                                           adapter)
                                                          512 channels of DMX in/out
                                                          4 Analog outputs
Controllers-                                              4 servo outputs
Procommander                                              On-board Ethernet
                                                          High power MOSFET Transistors
3
                                                          Mounts in 1/2 rack space
                                                          High powered on-board class-D stereo amp
                                                          Integrated DMX merger with LTP, HTP modes
                                                          Integrated MicroSD storage for
                                                           audio/timeline data
                                                          Battery, solar and charging capable
                                                          8 high powered relays optional
                                                          IR remote control available

                                                         Approvals and Certifications
                                                         CE, EN
                                                          Ethernet
                                                          WEM-NET
                                                          Mini USB
                                                          LCD-Display
                                                          RS-232
                                                          RS-485
                                                          DMX-512 In
                                                          ArtNet Support
                                                          Software configurable
Contollers- Weigl                                         Extensive ASCII-protocol for a wide range of
Pro I/O                                                     control options
                                                          Hardware interface for any kind of pc
                                                            related control programs
                                                          19” rack mount adapter and Din-rail mount
                                                            available
                                                          Support for Weigl Digital Motor Library (where
                                                            applicable)

                                                         Approvals and Certifications
                                                         CE, EN




200424JDM01 Gloria's Balloon Quote                                                           Page 4 of 9
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                                                          DMX distributor with one input and 4 isolated
                                                           outputs.
                                                          Electrical isolation between input and
                                                           output, and between 4 outputs themselves.
Controllers- DMX                                          Every DMX output features an independent
Booster 4                                                  driver for DMX data (+) & data (-) and shown
                                                           at each indicator.
                                                          DMX booster provides the isolation
                                                           protection from a malfunction caused by the
                                                           external DMX input.




                                                            High performance driver with 1W to 3W LED
                                                             lighting with 4 individual outputs and RJ45
                                                             sockets for RGBA
                                                            USITT DMX512(1990) multiplexed digital
                                                             control, via 3-pin Phoenix connectors
                                                            10 position and 6 position Dip-switches for
                                                             DMX address, Stand-alone, manual
Controllers- DMX
                                                             dimming, and output mode
Driver MR                                                   0-100% fade time and 0.1-30s chasing speed
                                                            Built-in programs to have it run by itself
                                                            Flicker free
                                                            Ability to AC88-132VAC/AC176-264VAC
                                                             power input standard optional via voltage
                                                             selector
                                                            Power failure memory




                                                         The rugged series of TWND switches offers both
                                                         variety and durability in an attractive design.
                                                         With button sizes up to 2 9/16” (65mm), chrome
                                                         plated zinc locking rings, die cast zinc mounting
                                                         threads, steel anti-rotation rings, and self
                                                         cleaning contacts, the TWNDs are here to stay.
                                                         The TWND series also offers LED illumination in full
Switches and
                                                         voltage and transformer models. Regardless of
Indicators- IDEC                                         your switching needs, the NEW TWND series
                                                         provides the kind of long lasting, industrial
                                                         strength quality you’ve come to expect from
                                                         IDEC.

                                                         Approvals and Certifications
                                                         UL-E68961, CSA, TUV, CE, CCC




                                                            Rich color changing effect
                                                            Very long operation life in excess 50,000
                                                             hours
                                                            Low energy consumption- 12w
Lighting- DOT-40                                            Robust construction suitable for outdoor
                                                             application
                                                            Fully controllable by RDM/DMX
                                                            Built-in C/C Driver
                                                            DC24V input




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                                                             High power CreeLED with 50,000 hours
Lighting- BLZ-52                                              operating time.




Lighitng- 24V
90W DMX RGB
LED Fiber Optic
Engine Light
Driver




                                                          The BLH series is a brushless DC motor unit that
                                                          adopts a slim, high-torque brushless DC motor
                                                          and an open-case high-precision compact
                                                          driver of 24 VDC input type. The product is
                                                          available in three types; a round shaft type
Animated                                                  which is the optimum for high speed
                                                          requirements and a combination type*
Figure- Oriental
                                                          equipped with a special-purpose gearhead
Stepper motor                                             which is best suited to high-torque operation by
and driver                                                gear speed reduction (a pinion shaft type*
                                                          compatible with optional special-purpose
                                                          gearhead).

                                                          Approvals and Certifications
                                                          UL 60950-1




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   C. Price Overview

       Gloria’s Balloon
       Activities                         Man      Man hour     Total Man     Labor Cost    Material Cost
                                          Power                 hour          (USD)         (USD)

       Labor
       Project Manager                     1 pax     10 hours      10 hours       415.80
       Supervisor                          1 pax     20 hours      20 hours       346.96
       Mech. Tech                          2 pax     80 hours     160 hours      1,667.94
       Elec. Tech                          2 pax     80 hours     160 hours      1,667.94
       Programmer                          1 pax     24 hours      24 hours       250.16
       Installation                        2 pax     80 hours     160 hours      1,667.94


       Materials
       Show Controls

                    Sub-system Control                                                         5,968.72

                           Distribution                                                        6,951.32

                            Controllers                                                        8,958.61

       Operations Control Console                                                              1,597.21

                        OCC Switches                                                           1,281.38

                        OCC Indicator                                                           187.25

       Light Fixtures                                                                          15,980.11

       Wiring and Connectors                                                                   9,029.23

       Animated Figure                                                                         1,896.88

            Marty Neck Movement                                                                5,793.36

                        Marty Eye Blink                                                        4,884.84

       Indirect Cost

       Office Cost                                                                              579.58
           Tarlac Site General Cost
        (PM, Transportation, Driver,
             Toll, Daily Allowances,                                                           2,897.91
            Supervisor, Technician,
                       Programmer)
       Packing Materials to Tarlac
                                                                                                144.90
                                  Site
          Import costs of materials,
                                                                                               1,747.20
               Freight, duties, Taxes
       Product Sample/ Prototype
                                                                                               1,014.27
                 Development cost
                Installation Materials                                                         2,173.43




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       Price Summary

                                          Labour      Material     Indirect   Installation
       Floats                                                                                     Total (USD)
                                       cost (USD)   Cost (USD)   Cost (USD)     Materials
       Gloria’s Balloon                  6,016.77    62,528.91     6,383.86      2,173.43          77,102.97




       Total Price- Gloria’s Balloon                                                         USD 77,102.97
       Less Discount                                                                         USD    802.97
       Total Amount                                                                          USD 76,300.00




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   D.    Delivery Terms and Payment
    Exworks Angeles City Pampanga, Philippines
    Validity: 30 days from the date of this quote.
    Prices in USD exclusive VAT.
    Payment:
   * 50% upon ordering, within 7 days from date of invoice. Note that the work starts upon receipt of payment.
   * 50% upon project completion prior to shipping, within 7 days from date of invoice.
    Warranty: 12 months after hand over.
    Components or equipment manufactured by third parties and supplied to the Project will have the original
      manufacturer’s warranty. (like LCD screens, amplifiers, audio control units, loudspeakers, microphones, light equipment
      (Except LEDs, see above) or special effects equipment). When replacement is needed for any reason, Lagotronics Phil.
      Inc is not responsible for original manufacturer’s delivery time.
    This warranty consists of the pure and simple exchange of parts recognized as being defective or of their reconditioning
      in a workshop recommended. Lagotronics Phil. Inc should replace any defective part found during the warranty period
      as promptly as possible. Freight, customs and labor are not included. In case of an extraordinary defect, which requires
      specialist installation works that cannot be performed by BUYER’s maintenance department or cannot be handled
      through computer (internet connection) assistance and/or phone assistance, Lagotronics Phil. Inc and the Buyer will
      discuss the optimum way to resolve the issue.
    Lagotronics Phil. Inc shall provide full documentation of the PRODUCT during Factory Acceptance Test (FAT) and within 4
      weeks after Site Acceptance Test (SAT) “As build” updates. During set-up and programming we will include a 1-day
      training for the maintenance personnel on-site to take care of repairs and replacement of equipment.
    The warranty is declared null and void in case that:
      a.            BUYER or third party modifies the EQUIPMENT without Lagotronics Phil. Inc authorization;
      b.            BUYER proceeds to modify, alter or repair a defect without Lagotronics Phil. Inc authorization;
      c.            BUYER fails to take proper and quick action to limit the damage;
      d.            BUYER doesn’t grant Lagotronics Phil. Inc the opportunity to remove/remedy the defect.
    Lagotronics Phil. Inc is not responsible under this clause for any defects, which are due to vandalism or
      BUYER’s’ non-compliance to material written instructions.
    Lagotronics Phil. Inc warrants that the EQUIPMENT and equipment documentation as delivered shall be free from any
      and all defects in design, material, fabrication and workmanship, and that the EQUIPMENT and equipment
      documentation shall confirm to the description, specifications, specific considerations, fabrication criteria, and standards
      stated herein. Lagotronics Phil. Inc further warrants that the EQUIPMENT shall be of first class quality and fit for the purpose
      for which intended;
    Assembly work and assembly materials at theme park site are NOT included. The unit will be assembled in Angeles for
      FAT. Please see separate quote for on-site installation option.
    Any extra work and/or materials will be charged after written permission from the customer in accordance with the
      applicable rates at the time of commitment/purchase.
    All drawings and/or quotations and/or designs remain the property of Lagotronics Phil. Inc and may not be handed over
      to third parties for any purpose whatsoever.
       This agreement shall be governed by Philippine Law.




Carlo Görtjes
President




Barry Kern/ Caskey Miller
Blain Kern Artists




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Kern Studios LLC                                                                                Lagotronics Philippines Inc.
1380 Port of New Orleans Place                                                                  Sitio Cubol,
                                                                                                BarangaySapalibutad
New Orleans, LA 70130                                                                           2009 Angeles City
Attn: Caskey Miller                                                                             Pampanga, Philippines
Email: caskey@kernstudios.com
                                                                                                Contact Details:
                                                                                                Netherlands:
                                                                                                Tel.: +31 653 122 579 (NL)
                                                                                                carlo.gortjes@lgholding.nl

                                                                                                Philippines:
                                                                                                sales@lagotronics.ph
                                                                                                jdm09.lagotronics.ph@gmail.com

                                                                                                Tel.: +63 917 176 2378 (PHL)
                                                                                                www.lagotronics.ph

Philippines, 24 April 2020                  Your ID: Caskey Miller                        Project: KERN-UBR Floats
                                            Our ID: Carlo Gortjes                         Subject: 200424JDM02 King Julien
                                                                                          Float Quote

    A.   General
         As a part of the Universal Beijing Floats project, Universal Studios asked Kern Studios to send a proposal in building King
         Julien Float with float number 719-602-FLT-011.

    B.   Scope of Works

         1.   King Julien Float

              a.   Inclusions
                             Assembly of SCC/OCC box as per UBR standards
                             Installation of boxes and laying of cables in the float
                             Installation of lights in the floats (Show light and Character Lighting)
                             Initial programming
                             FAT (Factory Acceptance Test) (see quote 200430JDM01 UBR Float- FAT quote)
                             Final programming upon FAT to be directed by UBR (see quote 200430JDM01 UBR Float- FAT quote)

              b.   Labour Breakdown

                                                                                 Man power             Man hours             Total Man hours
                   Project Manager                                                 1 pax                10 hours                 10 hours
                   Supervisor                                                      1 pax                20 hours                 20 hours
                   Mechanical Technician                                           2 pax                80 hours                160 hours
                   Electronics Technician                                          2 pax                80 hours                160 hours
                   Programmer                                                      1 pax                24 hours                 24 hours
                   Installation                                                    2 pax                48 hours                 96 hours
                                                                      Total                                                     470 hours

              c.   Exclusions
                             SAT (Site Acceptance Test) to be done in Beijing, China
                             Installation on-site (Beijing, China)




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                  d.   Materials Overview
                       In reference to the DDR documents of King Julien Float as of April 24, 2020

Enclosure
                                                                                              IP66 Sheet Steel Wall Boxes, AE series
                                                                                              The AE series wall box from Rittal has a strong
                                                                                              unibody construction which has been dipcoat-
                                                                                              primed and powder coated in a textured light
                                                                                              grey finish for added corrosion protection. The
                                                                                              door is interchangeable allowing it to be
                                                                                              mounted on either side of the enclosure and is
                                                                                              fitted with 2 cam locks and a foam gasket. The
                                                                                              enclosure is also supplied with a gland plate in
                                                                                              the base and a zinc plated mounting plate.
                                                                                              IP66 protection
Rittal                                                                                        Made from sheet steel
                                                                                              Outside of enclosure is dipcoat-primed and
                                                                                              powder coated (RAL 7035 light grey)
                                                                                              Door interchangeable, 130° opening
                                                                                              Door fitted with 2 cam locks and foam gasket
                                                                                              Pre-punched for wall mounting brackets and
                                                                                              interchangeable doors

                                                                                              Approvals and Certifications
                                                                                              IP66 to EN 60 529/10.91, NEMA Type 4.
                                                                                              UL, CSA, TUV, VDE
Devices to be
used




                                                                                              Complete fan unit for tool-free mounting on
                                                                                              surfaces. Air throughput from 20 - 900 m³/h,
                                                                                              protection category IP 54 as standard.
Exhaust Fan-
Rittal                                                                                        Approvals and Certifications
                                                                                              UR/cUR, UL/cUL- FTTA, CSA, EAC




                                                                                              1. Work Voltage: DC12V /DC24V
                                                                                              2. LED QTY: 120Pcs SMD2835
                                                                                              3. PCB width:8MM/10MM, PCB color:white color
                                                                                              4. Led view angle: 120 degree
Service Lights-
                                                                                              5. Power comsuption: 20W/M
GreeLED                                                                                       6. Package: 5M/Reel
                                                                                              7. Luminous Flux: 22-24lum/led
                                                                                              8. CCT Options:2800-3200K/4000-4500K/6000-
                                                                                              6500K




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                                                          System pro M compact S200M miniature circuit
                                                          breakers are current limiting. They have two
                                                          different tripping mechanisms, the delayed
                                                          thermal tripping mechanism for overload
                                                          protection and the electromechanic tripping
                                                          mechanism for short circuit protection. They are
                                                          available in different characteristics (B,C,D,K,Z),
                                                          configurations (1P,1P+N,2P,3P,3P+N,4P),
Circuit Breakers-                                         breaking capacities (up to 10 kA at 230/400 V
ABB                                                       AC) and rated currents (up to 63A). All MCBs of
                                                          the product range S200M comply with IEC/EN
                                                          60898-1 and IEC/EN 609 47-2, allowing the use
                                                          for residential, commercial and industrial
                                                          applications. Bottom-fitting auxiliary contact
                                                          can be mounted on S200M to save 50% space.

                                                          Approvals and Certifications
                                                          IEC/EN 60898-1, IEC/EN 60947-2, CCC




                                                           End holes can be used to fix busbar to a
                                                            support or connect the main input conductor
                                                           Heavy-duty power connection
                                                           Circuit breaker, generator and prefabricated
                                                            power network conductor
                                                           Alternative to large and multiple cables
                                                           Earth/ground connection
                                                           Power distribution
Busbars- nVent                                             Rounded edges

                                                          Approvals and Certifications
                                                          UL2885, IEC 60754-1, IEC 62821-2, IEC 60695-2-11
                                                          (Glow Wire Test 960°C), IEC 61439.1, IEC 61439.1
                                                          Class II, CE, RoHS, EN 45545: HL2 classification,
                                                          Bureau Veritas (Marine & Offshore),EAC,ABS
                                                          American Bureau of Shipping




                                                          Typically used in DC power systems in marine
                                                          applications (as a main or branch circuit
                                                          breaker), truck and bus systems, RV systems,
                                                          add-on protection for accessories, lift gates, etc.
Busbars- Eaton                                            This unit is external ignition protected and
                                                          weatherproof.

                                                          Approvals and Certifications
                                                          ABYC E-11; CE; SAE J1171 (ignition protected)




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                                                              Realized about 25% lower profile than
                                                               conventional products, contributing to further
                                                               miniaturization of the control panel.
                                                              Optimal slim, high frequency, high-speed
                                                               opening and closing
                                                              SSR (solid state relay).
                                                              Realized a slim shape with a switching
                                                               capacity up to 3 A (DC), and 2 A (AC).
                                                              Because MOSFET is used for the outlet
                                                               element for the DC load, opening and
                                                               closing load of 100 μA to 3 A is possible.
                                                              Check operating status at a glance at the
SSR- Omron                                                     operating display LED.
                                                              Mounted I/O SSR (solid-state relay) uses plug-
                                                               in terminals that are difficult to bend when
                                                               exchanging.
                                                              G2RV-SR featuring a general-purpose relay
                                                                 similar in shape to G3RV-SR also available.

                                                             Approvals and Certifications
                                                             UL 508 (file No.E64562), TÜV(EN 62314), CE




                                                              ProCommander 3: Comprehensive Show
                                                               Control Solution
                                                              Engineered using the highest level of quality
                                                               standards, this controller supports a wide
                                                               variety of industry standard I/Os.
                                                              16 digital outputs at 48VDC/500ma
                                                              16 digital inputs OR 8 digital and 8 analog
                                                              3 RS-232 serial ports (1 RS-485 capable with
                                                               adapter)
                                                              512 channels of DMX in/out
                                                              4 Analog outputs
Controllers-                                                  4 servo outputs
Procommander                                                  On-board Ethernet
                                                              High power MOSFET Transistors
3
                                                              Mounts in 1/2 rack space
                                                              High powered on-board class-D stereo amp
                                                              Integrated DMX merger with LTP, HTP modes
                                                              Integrated MicroSD storage for
                                                               audio/timeline data
                                                              Battery, solar and charging capable
                                                              8 high powered relays optional
                                                              IR remote control available

                                                             Approvals and Certifications
                                                             CE, EN
                                                              High performance driver for controlling
                                                                 range of lighting, with 8 individual outputs for
                                                                 RGB
                                                              10 position and 6 position dip switches for
                                                                 DMX address, Standalone function and
                                                                 manual dimming
                                                              USITT DMX512(1990) multiplexed digital
Controllers-
                                                                 control, via 3-pin Phoenix connectors
Controller 3                                                  0-100% fade time and 0.1-30s chasing speed
                                                              Built-in programs to have it run by itself
                                                              Flicker free
                                                              Ability to AC90-132VAC/AC180-264VAC
                                                                 power input standard optional via voltage
                                                                 selector
                                                              Power failure memory


                                                               High performance driver with 1W to 3W LED
                                                                lighting with 4 individual outputs and RJ45
                                                                sockets for RGBA
                                                              USITT DMX512(1990) multiplexed digital
                                                                control, via 3-pin Phoenix connectors
                                                              10 position and 6 position Dip-switches for
                                                                DMX address, Stand-alone, manual
Controllers- DMX
                                                                dimming, and output mode
Driver MR                                                     0-100% fade time and 0.1-30s chasing speed
                                                              Built-in programs to have it run by itself
                                                              Flicker free
                                                              Ability to AC88-132VAC/AC176-264VAC
                                                                power input standard optional via voltage
                                                                selector
                                                              Power failure memory




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                                                             Offers a low-cost, compact solution
                                                             Includes ability to automatically negotiate
                                                              speed and duplex settings
Networks- Allen
                                                             Operates on 20V AC or 24V DC power
Bradley 5 Port                                               Includes automatic cable cross-over
Ethernet Switch                                               detection
STRATIX 2000
                                                          Approvals and Certification
                                                          CE, C-Tick, c-UL-us, EAC, EtherNet/IP, Ex, IEC/Ex,
                                                          KC, RCM




                                                          The rugged series of TWND switches offers both
                                                          variety and durability in an attractive design.
                                                          With button sizes up to 2 9/16” (65mm), chrome
                                                          plated zinc locking rings, die cast zinc mounting
                                                          threads, steel anti-rotation rings, and self
                                                          cleaning contacts, the TWNDs are here to stay.
                                                          The TWND series also offers LED illumination in full
Switches and
                                                          voltage and transformer models. Regardless of
Indicators- IDEC                                          your switching needs, the NEW TWND series
                                                          provides the kind of long lasting, industrial
                                                          strength quality you’ve come to expect from
                                                          IDEC.

                                                          Approvals and Certifications
                                                           UL-E68961, CSA, TUV, CE, CCC




                                                             High power CreeLED with 50,000 hours
Lighting- BLZ-52                                              operating time.




Animated
Figure-
SAVOX Monster
                                                             Full Aluminum Case
Torque Brushless
                                                             3 Precision Ball Bearings.
Servo, Black                                                 Unique steel gears
Edition .13sec /
694.4oz @ 7.4v




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   C. Price Overview

       King Julien Float
       Activities                         Man      Man hour     Total Man     Labor Cost    Material Cost
                                          Power                 hour          (USD)         (USD)

       Labor
       Project Manager                     1 pax     10 hours      10 hours       415.80
       Supervisor                          1 pax     20 hours      20 hours       346.96
       Mech. Tech                          2 pax     80 hours     160 hours      1,667.94
       Elec. Tech                          2 pax     80 hours     160 hours      1,667.94
       Programmer                          1 pax     24 hours      24 hours       250.16
       Installation                        2 pax     48 hours      96 hours      1,000.76


       Materials
       Show Controls

                    Sub-system Control                                                         18,655.52

                           Distribution                                                        3,097.60

                            Controllers                                                        4,369.16

                              Network                                                           361.39

       Operations Control Console                                                               880.98

                        OCC Switches                                                           1,076.14

                        OCC Indicator                                                           187.25

       Light Fixtures                                                                          3,164.15

       Wiring and Connectors                                                                   10,627.15

       Animated figure                                                                         1,164.62

                         Mort Eye Blink                                                        5,513.63

       Indirect Cost

                           Office Cost                                                          579.58
           Tarlac Site General Cost
        (PM, Transportation, Driver,
             Toll, Daily Allowances,                                                           2,897.91
            Supervisor, Technician,
                       Programmer)
       Packing Materials to Tarlac
                                                                                                144.90
                                  Site
          Import costs of materials,
                                                                                               1,747.20
               Freight, duties, Taxes
       Product Sample/ Prototype
                                                                                               1,014.27
                 Development cost
       Installation Materials                                                                  2,173.43




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       Price Summary

                                           Labour      Material     Indirect   Installation
       Floats                                                                                      Total (USD)
                                        cost (USD)   Cost (USD)   Cost (USD)     Materials
       King Julien Float                  5,349.56    49,097.59     6,383.86      2,173.43          63,004.44




       Total Price- King Julien Float                                                         USD 63,004.44
       Less Discount                                                                          USD    804.44
       Total Amount                                                                           USD 62,200.00




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   D.    Delivery Terms and Payment
    Exworks Angeles City Pampanga, Philippines
    Validity: 30 days from the date of this quote.
    Prices in USD exclusive VAT.
    Payment:
   * 50% upon ordering, within 7 days from date of invoice. Note that the work starts upon receipt of payment.
   * 50% upon project completion prior to shipping, within 7 days from date of invoice.
    Warranty: 12 months after hand over.
    Components or equipment manufactured by third parties and supplied to the Project will have the original
      manufacturer’s warranty. (like LCD screens, amplifiers, audio control units, loudspeakers, microphones, light equipment
      (Except LEDs, see above) or special effects equipment). When replacement is needed for any reason, Lagotronics Phil.
      Inc is not responsible for original manufacturer’s delivery time.
    This warranty consists of the pure and simple exchange of parts recognized as being defective or of their reconditioning
      in a workshop recommended. Lagotronics Phil. Inc should replace any defective part found during the warranty period
      as promptly as possible. Freight, customs and labor are not included. In case of an extraordinary defect, which requires
      specialist installation works that cannot be performed by BUYER’s maintenance department or cannot be handled
      through computer (internet connection) assistance and/or phone assistance, Lagotronics Phil. Inc and the Buyer will
      discuss the optimum way to resolve the issue.
    Lagotronics Phil. Inc shall provide full documentation of the PRODUCT during Factory Acceptance Test (FAT) and within 4
      weeks after Site Acceptance Test (SAT) “As build” updates. During set-up and programming we will include a 1-day
      training for the maintenance personnel on-site to take care of repairs and replacement of equipment.
    The warranty is declared null and void in case that:
      a.            BUYER or third party modifies the EQUIPMENT without Lagotronics Phil. Inc authorization;
      b.            BUYER proceeds to modify, alter or repair a defect without Lagotronics Phil. Inc authorization;
      c.            BUYER fails to take proper and quick action to limit the damage;
      d.            BUYER doesn’t grant Lagotronics Phil. Inc the opportunity to remove/remedy the defect.
    Lagotronics Phil. Inc is not responsible under this clause for any defects, which are due to vandalism or
      BUYER’s’ non-compliance to material written instructions.
    Lagotronics Phil. Inc warrants that the EQUIPMENT and equipment documentation as delivered shall be free from any
      and all defects in design, material, fabrication and workmanship, and that the EQUIPMENT and equipment
      documentation shall confirm to the description, specifications, specific considerations, fabrication criteria, and standards
      stated herein. Lagotronics Phil. Inc further warrants that the EQUIPMENT shall be of first class quality and fit for the purpose
      for which intended;
    Assembly work and assembly materials at theme park site are NOT included. The unit will be assembled in Angeles for
      FAT. Please see separate quote for on-site installation option.
    Any extra work and/or materials will be charged after written permission from the customer in accordance with the
      applicable rates at the time of commitment/purchase.
    All drawings and/or quotations and/or designs remain the property of Lagotronics Phil. Inc and may not be handed over
      to third parties for any purpose whatsoever.
       This agreement shall be governed by Philippine Law.




Carlo Görtjes
President



Barry Kern/ Caskey Miller
Blain Kern Artists




200424JDM02 King Julien Float Quote                                                                                        Page 8 of 8
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Kern Studios LLC                                                                                Lagotronics Philippines Inc.
1380 Port of New Orleans Place                                                                  Sitio Cubol,
                                                                                                BarangaySapalibutad
New Orleans, LA 70130                                                                           2009 Angeles City
Attn: Caskey Miller                                                                             Pampanga, Philippines
Email: caskey@kernstudios.com
                                                                                                Contact Details:
                                                                                                Netherlands:
                                                                                                Tel.: +31 653 122 579 (NL)
                                                                                                carlo.gortjes@lgholding.nl

                                                                                                Philippines:
                                                                                                sales@lagotronics.ph
                                                                                                jdm09.lagotronics.ph@gmail.com

                                                                                                Tel.: +63 917 176 2378 (PHL)
                                                                                                www.lagotronics.ph

Philippines, 24 April 2020                  Your ID: Caskey Miller                        Project: KERN-UBR Floats
                                            Our ID: Carlo Gortjes                         Subject: 200424JDM03 Master Ox
                                                                                          Quote

    A.   General
         As a part of the Universal Beijing Floats project, Universal Studios asked Kern Studios to send a proposal in building
         Master Ox Float with float number 719-602-FLT-024.

    B.   Scope of Works

         1.   Master Ox Float

              a.   Inclusions
                             Assembly of SCC/OCC box as per UBR standards
                             Installation of boxes and laying of cables in the float
                             Installation of lights in the floats (Show light and Character Lighting)
                             Initial programming
                             FAT (Factory Acceptance Test) (see quote 200430JDM01 UBR Float- FAT quote)
                             Final programming upon FAT to be directed by UBR (see quote 200430JDM01 UBR Float- FAT quote)

              b.   Labour Breakdown

                                                                                 Man power             Man hours             Total Man hours
                   Project Manager                                                 1 pax                10 hours                 10 hours
                   Supervisor                                                      1 pax                20 hours                 20 hours
                   Mechanical Technician                                              -                     -                        -
                   Electronics Technician                                          2 pax                80 hours                160 hours
                   Programmer                                                      1 pax                16 hours                 16 hours
                   Installation                                                    2 pax                40 hours                 80 hours
                                                                      Total                                                     286 hours

              c.   Exclusions
                             SAT (Site Acceptance Test) to be done in Beijing, China
                             Installation on-site (Beijing, China)




200424JDM03 Master Ox Quote                                                                                                    Page 1 of 8
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                  d.   Materials Overview
                       In reference to the DDR documents of Master Ox Float as of April 24, 2020

Enclosure
                                                                                            IP66 Sheet Steel Wall Boxes, AE series
                                                                                            The AE series wall box from Rittal has a strong
                                                                                            unibody construction which has been dipcoat-
                                                                                            primed and powder coated in a textured light
                                                                                            grey finish for added corrosion protection. The
                                                                                            door is interchangeable allowing it to be
                                                                                            mounted on either side of the enclosure and is
                                                                                            fitted with 2 cam locks and a foam gasket. The
                                                                                            enclosure is also supplied with a gland plate in
                                                                                            the base and a zinc plated mounting plate.
                                                                                            IP66 protection
Rittal                                                                                      Made from sheet steel
                                                                                            Outside of enclosure is dipcoat-primed and
                                                                                            powder coated (RAL 7035 light grey)
                                                                                            Door interchangeable, 130° opening
                                                                                            Door fitted with 2 cam locks and foam gasket
                                                                                            Pre-punched for wall mounting brackets and
                                                                                            interchangeable doors

                                                                                            Approvals and Certifications
                                                                                            IP66 to EN 60 529/10.91, NEMA Type 4.
                                                                                            UL, CSA, TUV, VDE
Devices to be
used




                                                                                            Complete fan unit for tool-free mounting on
                                                                                            surfaces. Air throughput from 20 - 900 m³/h,
                                                                                            protection category IP 54 as standard.
Exhaust Fan-
Rittal                                                                                      Approvals and Certifications
                                                                                            UR/cUR, UL/cUL- FTTA, CSA, EAC




                                                                                            1. Work Voltage: DC12V /DC24V
                                                                                            2. LED QTY: 120Pcs SMD2835
                                                                                            3. PCB width:8MM/10MM, PCB color:white color
                                                                                            4. Led view angle: 120 degree
Service Lights-
                                                                                            5. Power comsuption: 20W/M
GreeLED                                                                                     6. Package: 5M/Reel
                                                                                            7. Luminous Flux: 22-24lum/led
                                                                                            8. CCT Options:2800-3200K/4000-4500K/6000-
                                                                                            6500K




200424JDM03 Master Ox Quote                                                                                                     Page 2 of 8
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                                                          System pro M compact S200M miniature circuit
                                                          breakers are current limiting. They have two
                                                          different tripping mechanisms, the delayed
                                                          thermal tripping mechanism for overload
                                                          protection and the electromechanic tripping
                                                          mechanism for short circuit protection. They are
                                                          available in different characteristics (B,C,D,K,Z),
                                                          configurations (1P,1P+N,2P,3P,3P+N,4P),
Circuit Breakers-                                         breaking capacities (up to 10 kA at 230/400 V
ABB                                                       AC) and rated currents (up to 63A). All MCBs of
                                                          the product range S200M comply with IEC/EN
                                                          60898-1 and IEC/EN 609 47-2, allowing the use
                                                          for residential, commercial and industrial
                                                          applications. Bottom-fitting auxiliary contact
                                                          can be mounted on S200M to save 50% space.

                                                          Approvals and Certifications
                                                          IEC/EN 60898-1, IEC/EN 60947-2, CCC




                                                           End holes can be used to fix busbar to a
                                                            support or connect the main input conductor
                                                           Heavy-duty power connection
                                                           Circuit breaker, generator and prefabricated
                                                            power network conductor
                                                           Alternative to large and multiple cables
                                                           Earth/ground connection
                                                           Power distribution
Busbars- nVent                                             Rounded edges

                                                          Approvals and Certifications
                                                          UL2885, IEC 60754-1, IEC 62821-2, IEC 60695-2-11
                                                          (Glow Wire Test 960°C), IEC 61439.1, IEC 61439.1
                                                          Class II, CE, RoHS, EN 45545: HL2 classification,
                                                          Bureau Veritas (Marine & Offshore),EAC,ABS
                                                          American Bureau of Shipping




                                                          Typically used in DC power systems in marine
                                                          applications (as a main or branch circuit
                                                          breaker), truck and bus systems, RV systems,
                                                          add-on protection for accessories, lift gates, etc.
Busbars- Eaton                                            This unit is external ignition protected and
                                                          weatherproof.

                                                          Approvals and Certifications
                                                          ABYC E-11; CE; SAE J1171 (ignition protected)




200424JDM03 Master Ox Quote                                                                     Page 3 of 8
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                                                          Realized about 25% lower profile than
                                                           conventional products, contributing to further
                                                           miniaturization of the control panel.
                                                          Optimal slim, high frequency, high-speed
                                                           opening and closing
                                                          SSR (solid state relay).
                                                          Realized a slim shape with a switching
                                                           capacity up to 3 A (DC), and 2 A (AC).
                                                          Because MOSFET is used for the outlet
                                                           element for the DC load, opening and
                                                           closing load of 100 μA to 3 A is possible.
                                                          Check operating status at a glance at the
SSR- Omron                                                 operating display LED.
                                                          Mounted I/O SSR (solid-state relay) uses plug-
                                                           in terminals that are difficult to bend when
                                                           exchanging.
                                                          G2RV-SR featuring a general-purpose relay
                                                           similar in shape to G3RV-SR also available.

                                                         Approvals and Certifications
                                                         UL 508 (file No.E64562), TÜV(EN 62314), CE




                                                          ProCommander 3: Comprehensive Show
                                                           Control Solution
                                                          Engineered using the highest level of quality
                                                           standards, this controller supports a wide
                                                           variety of industry standard I/Os.
                                                          16 digital outputs at 48VDC/500ma
                                                          16 digital inputs OR 8 digital and 8 analog
                                                          3 RS-232 serial ports (1 RS-485 capable with
                                                           adapter)
                                                          512 channels of DMX in/out
                                                          4 Analog outputs
Controllers-                                              4 servo outputs
Procommander                                              On-board Ethernet
                                                          High power MOSFET Transistors
3
                                                          Mounts in 1/2 rack space
                                                          High powered on-board class-D stereo amp
                                                          Integrated DMX merger with LTP, HTP modes
                                                          Integrated MicroSD storage for
                                                           audio/timeline data
                                                          Battery, solar and charging capable
                                                          8 high powered relays optional
                                                          IR remote control available

                                                         Approvals and Certifications
                                                         CE, EN
                                                          X-PAR Driver is a high performance driver for
                                                            driving a range of 1W or
                                                          3W or 10W LED lighting, with 2 individual
                                                            outputs for RGBW.
                                                          12-position Dip-switches for DMX address,
                                                            Stand-alone function, and Output Mode.
Controllers-                                              USITT DMX512 (1990) multiplexed digital
PCBA X-PAR                                                  control, via 3-pin Phoenix connectors.
                                                          0~100% Fade time and 0.1~30s chasing
Driver
                                                            speed.
                                                          Built-in programs to have it run by itself
                                                          Flicking free
                                                          Input DC24V and provide up to 1200mA
                                                            Constant Current output
                                                          Power Failure Memory




200424JDM03 Master Ox Quote                                                                  Page 4 of 8
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                                                           The rugged series of TWND switches offers both
                                                           variety and durability in an attractive design.
                                                           With button sizes up to 2 9/16” (65mm), chrome
                                                           plated zinc locking rings, die cast zinc mounting
                                                           threads, steel anti-rotation rings, and self
                                                           cleaning contacts, the TWNDs are here to stay.
                                                           The TWND series also offers LED illumination in full
Switches and
                                                           voltage and transformer models. Regardless of
Indicators- IDEC                                           your switching needs, the NEW TWND series
                                                           provides the kind of long lasting, industrial
                                                           strength quality you’ve come to expect from
                                                           IDEC.

                                                           Approvals and Certifications
                                                            UL-E68961, CSA, TUV, CE, CCC




                                                            Rich color changing effect
                                                            Very long operation life in excess of 50,000
                                                             hours
Light Fixtures- X-                                          Low energy consumption 120W
PAR 56                                                      Robust construction suitable for outdoor
                                                             application
                                                            Fully controlled by external RDM/DMX C/C
                                                             driver




200424JDM03 Master Ox Quote                                                                       Page 5 of 8
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   C. Price Overview

      Master Ox Float
      Activities                         Man      Man hour     Total Man     Labor Cost    Material Cost
                                         Power                 hour          (USD)         (USD)

      Labor
      Project Manager                     1 pax     10 hours      10 hours       415.80
      Supervisor                          1 pax     20 hours      20 hours       346.96
      Mech. Tech                            -          -             -             -
      Elec. Tech                          2 pax     80 hours     160 hours      1,667.94
      Programmer                          1 pax     16 hours      16 hours       166.79
      Installation                        2 pax     40 hours      80 hours       833.97


      Materials
      Show Controls

                   Sub-system Control                                                         5,814.89

                          Distribution                                                        1,585.00

                           Controllers                                                        2,441.59

                             Network                                                              -

      Operations Control Console                                                              1,475.00

                       OCC Switches                                                            695.03

                       OCC Indicator                                                           187.25

      Light Fixtures                                                                          5213.62

      Wiring and Connectors                                                                   11,111.77

      Indirect Cost

                          Office Cost                                                          579.58
           Tarlac Site General Cost
        (PM, Transportation, Driver,
             Toll, Daily Allowances,                                                          2,897.91
            Supervisor, Technician,
                       Programmer)
       Packing Materials to Tarlac
                                                                                               144.90
                                  Site
          Import costs of materials,
                                                                                              1,747.20
               Freight, duties, Taxes
       Product Sample/ Prototype
                                                                                              1,014.27
                 Development cost
      Installation Materials                                                                  1,304.06




200424JDM03 Master Ox Quote                                                                           Page 6 of 8
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      Price Summary

                                        Labour      Material     Indirect   Installation
      Floats                                                                                    Total (USD)
                                     cost (USD)   Cost (USD)   Cost (USD)     Materials
      Master Ox Float                  3,431.46    28,524.15     6,383.86      1,304.06          39,643.53




      Total Price- Master Ox Float                                                         USD 39,643.53
      Less Discount                                                                        USD    543.53
      Total Amount                                                                         USD 39,100.00




200424JDM03 Master Ox Quote                                                                      Page 7 of 8
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   D.    Delivery Terms and Payment
    Exworks Angeles City Pampanga, Philippines
    Validity: 30 days from the date of this quote.
    Prices in USD exclusive VAT.
    Payment:
   * 50% upon ordering, within 7 days from date of invoice. Note that the work starts upon receipt of payment.
   * 50% upon project completion prior to shipping, within 7 days from date of invoice.
    Warranty: 12 months after hand over.
    Components or equipment manufactured by third parties and supplied to the Project will have the original
      manufacturer’s warranty. (like LCD screens, amplifiers, audio control units, loudspeakers, microphones, light equipment
      (Except LEDs, see above) or special effects equipment). When replacement is needed for any reason, Lagotronics Phil.
      Inc is not responsible for original manufacturer’s delivery time.
    This warranty consists of the pure and simple exchange of parts recognized as being defective or of their reconditioning
      in a workshop recommended. Lagotronics Phil. Inc should replace any defective part found during the warranty period
      as promptly as possible. Freight, customs and labor are not included. In case of an extraordinary defect, which requires
      specialist installation works that cannot be performed by BUYER’s maintenance department or cannot be handled
      through computer (internet connection) assistance and/or phone assistance, Lagotronics Phil. Inc and the Buyer will
      discuss the optimum way to resolve the issue.
    Lagotronics Phil. Inc shall provide full documentation of the PRODUCT during Factory Acceptance Test (FAT) and within 4
      weeks after Site Acceptance Test (SAT) “As build” updates. During set-up and programming we will include a 1-day
      training for the maintenance personnel on-site to take care of repairs and replacement of equipment.
    The warranty is declared null and void in case that:
      a.            BUYER or third party modifies the EQUIPMENT without Lagotronics Phil. Inc authorization;
      b.            BUYER proceeds to modify, alter or repair a defect without Lagotronics Phil. Inc authorization;
      c.            BUYER fails to take proper and quick action to limit the damage;
      d.            BUYER doesn’t grant Lagotronics Phil. Inc the opportunity to remove/remedy the defect.
    Lagotronics Phil. Inc is not responsible under this clause for any defects, which are due to vandalism or
      BUYER’s’ non-compliance to material written instructions.
    Lagotronics Phil. Inc warrants that the EQUIPMENT and equipment documentation as delivered shall be free from any
      and all defects in design, material, fabrication and workmanship, and that the EQUIPMENT and equipment
      documentation shall confirm to the description, specifications, specific considerations, fabrication criteria, and standards
      stated herein. Lagotronics Phil. Inc further warrants that the EQUIPMENT shall be of first class quality and fit for the purpose
      for which intended;
    Assembly work and assembly materials at theme park site are NOT included. The unit will be assembled in Angeles for
      FAT. Please see separate quote for on-site installation option.
    Any extra work and/or materials will be charged after written permission from the customer in accordance with the
      applicable rates at the time of commitment/purchase.
    All drawings and/or quotations and/or designs remain the property of Lagotronics Phil. Inc and may not be handed over
      to third parties for any purpose whatsoever.
       This agreement shall be governed by Philippine Law.




Carlo Görtjes
President




Barry Kern/ Caskey Miller
Blain Kern Artists




200424JDM03 Master Ox Quote                                                                                                Page 8 of 8
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Kern Studios LLC                                                                                Lagotronics Philippines Inc.
1380 Port of New Orleans Place                                                                  Sitio Cubol,
                                                                                                BarangaySapalibutad
New Orleans, LA 70130                                                                           2009 Angeles City
Attn: Caskey Miller                                                                             Pampanga, Philippines
Email: caskey@kernstudios.com
                                                                                                Contact Details:
                                                                                                Netherlands:
                                                                                                Tel.: +31 653 122 579 (NL)
                                                                                                carlo.gortjes@lgholding.nl

                                                                                                Philippines:
                                                                                                sales@lagotronics.ph
                                                                                                jdm09.lagotronics.ph@gmail.com

                                                                                                Tel.: +63 917 176 2378 (PHL)
                                                                                                www.lagotronics.ph

Philippines, 24 April 2020                  Your ID: Caskey Miller                        Project: KERN-UBR Floats
                                            Our ID: Carlo Gortjes                         Subject: 200424JDM04 Onion
                                                                                          Coach Quote

    A.   General
         As a part of the Universal Beijing Floats project, Universal Studios asked Kern Studios to send a proposal in building
         Onion Coach with float number 719-602-FLT-008.

    B.   Scope of Works

         1.   Onion Coach

              a.   Inclusions
                             Assembly of SCC/OCC box as per UBR standards
                             Installation of boxes and laying of cables in the float
                             Installation of lights in the floats (Show light and Character Lighting)
                             Initial programming
                             FAT (Factory Acceptance Test) (see quote 200430JDM01 UBR Float- FAT quote)
                             Final programming upon FAT to be directed by UBR (see quote 200430JDM01 UBR Float- FAT quote)

              b.   Labour Breakdown

                                                                                 Man power             Man hours             Total Man hours
                   Project Manager                                                 1 pax                10 hours                 10 hours
                   Supervisor                                                      1 pax                20 hours                 20 hours
                   Mechanical Technician                                              -                     -                        -
                   Electronics Technician                                          2 pax                80 hours                160 hours
                   Programmer                                                      1 pax                16 hours                 16 hours
                   Installation                                                    2 pax                40 hours                 80 hours
                                                                      Total                                                     286 hours

              c.   Exclusions
                             SAT (Site Acceptance Test) to be done in Beijing, China
                             Installation on-site (Beijing, China)




200424JDM04 Onion Coach Quote                                                                                                  Page 1 of 9
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                  d.   Materials Overview
                       In reference to the DDR documents of Onion Coach as of April 24, 2020

Enclosure
                                                                                          IP66 Sheet Steel Wall Boxes, AE series
                                                                                          The AE series wall box from Rittal has a strong
                                                                                          unibody construction which has been dipcoat-
                                                                                          primed and powder coated in a textured light
                                                                                          grey finish for added corrosion protection. The
                                                                                          door is interchangeable allowing it to be
                                                                                          mounted on either side of the enclosure and is
                                                                                          fitted with 2 cam locks and a foam gasket. The
                                                                                          enclosure is also supplied with a gland plate in
                                                                                          the base and a zinc plated mounting plate.
                                                                                          IP66 protection
Rittal                                                                                    Made from sheet steel
                                                                                          Outside of enclosure is dipcoat-primed and
                                                                                          powder coated (RAL 7035 light grey)
                                                                                          Door interchangeable, 130° opening
                                                                                          Door fitted with 2 cam locks and foam gasket
                                                                                          Pre-punched for wall mounting brackets and
                                                                                          interchangeable doors

                                                                                          Approvals and Certifications
                                                                                          IP66 to EN 60 529/10.91, NEMA Type 4.
                                                                                          UL, CSA, TUV, VDE
Devices to be
used




                                                                                          Complete fan unit for tool-free mounting on
                                                                                          surfaces. Air throughput from 20 - 900 m³/h,
                                                                                          protection category IP 54 as standard.
Exhaust Fan-
Rittal                                                                                    Approvals and Certifications
                                                                                          UR/cUR, UL/cUL- FTTA, CSA, EAC




                                                                                          1. Work Voltage: DC12V /DC24V
                                                                                          2. LED QTY: 120Pcs SMD2835
                                                                                          3. PCB width:8MM/10MM, PCB color:white color
                                                                                          4. Led view angle: 120 degree
Service Lights-
                                                                                          5. Power comsuption: 20W/M
GreeLED                                                                                   6. Package: 5M/Reel
                                                                                          7. Luminous Flux: 22-24lum/led
                                                                                          8. CCT Options:2800-3200K/4000-4500K/6000-
                                                                                          6500K




200424JDM04 Onion Coach Quote                                                                                                 Page 2 of 9
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                                                          System pro M compact S200M miniature circuit
                                                          breakers are current limiting. They have two
                                                          different tripping mechanisms, the delayed
                                                          thermal tripping mechanism for overload
                                                          protection and the electromechanic tripping
                                                          mechanism for short circuit protection. They are
                                                          available in different characteristics (B,C,D,K,Z),
                                                          configurations (1P,1P+N,2P,3P,3P+N,4P),
Circuit Breakers-                                         breaking capacities (up to 10 kA at 230/400 V
ABB                                                       AC) and rated currents (up to 63A). All MCBs of
                                                          the product range S200M comply with IEC/EN
                                                          60898-1 and IEC/EN 609 47-2, allowing the use
                                                          for residential, commercial and industrial
                                                          applications. Bottom-fitting auxiliary contact
                                                          can be mounted on S200M to save 50% space.

                                                          Approvals and Certifications
                                                          IEC/EN 60898-1, IEC/EN 60947-2, CCC




                                                           End holes can be used to fix busbar to a
                                                            support or connect the main input conductor
                                                           Heavy-duty power connection
                                                           Circuit breaker, generator and prefabricated
                                                            power network conductor
                                                           Alternative to large and multiple cables
                                                           Earth/ground connection
                                                           Power distribution
Busbars- nVent                                             Rounded edges

                                                          Approvals and Certifications
                                                          UL2885, IEC 60754-1, IEC 62821-2, IEC 60695-2-11
                                                          (Glow Wire Test 960°C), IEC 61439.1, IEC 61439.1
                                                          Class II, CE, RoHS, EN 45545: HL2 classification,
                                                          Bureau Veritas (Marine & Offshore),EAC,ABS
                                                          American Bureau of Shipping




                                                          Typically used in DC power systems in marine
                                                          applications (as a main or branch circuit
                                                          breaker), truck and bus systems, RV systems,
                                                          add-on protection for accessories, lift gates, etc.
Busbars- Eaton                                            This unit is external ignition protected and
                                                          weatherproof.

                                                          Approvals and Certifications
                                                          ABYC E-11; CE; SAE J1171 (ignition protected)




200424JDM04 Onion Coach Quote                                                                   Page 3 of 9
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                                                          Realized about 25% lower profile than
                                                           conventional products, contributing to further
                                                           miniaturization of the control panel.
                                                          Optimal slim, high frequency, high-speed
                                                           opening and closing
                                                          SSR (solid state relay).
                                                          Realized a slim shape with a switching
                                                           capacity up to 3 A (DC), and 2 A (AC).
                                                          Because MOSFET is used for the outlet
                                                           element for the DC load, opening and
                                                           closing load of 100 μA to 3 A is possible.
                                                          Check operating status at a glance at the
SSR- Omron                                                 operating display LED.
                                                          Mounted I/O SSR (solid-state relay) uses plug-
                                                           in terminals that are difficult to bend when
                                                           exchanging.
                                                          G2RV-SR featuring a general-purpose relay
                                                             similar in shape to G3RV-SR also available.

                                                         Approvals and Certifications
                                                         UL 508 (file No.E64562), TÜV(EN 62314), CE




                                                          ProCommander 3: Comprehensive Show
                                                           Control Solution
                                                          Engineered using the highest level of quality
                                                           standards, this controller supports a wide
                                                           variety of industry standard I/Os.
                                                          16 digital outputs at 48VDC/500ma
                                                          16 digital inputs OR 8 digital and 8 analog
                                                          3 RS-232 serial ports (1 RS-485 capable with
                                                           adapter)
                                                          512 channels of DMX in/out
                                                          4 Analog outputs
Controllers-                                              4 servo outputs
Procommander                                              On-board Ethernet
                                                          High power MOSFET Transistors
3
                                                          Mounts in 1/2 rack space
                                                          High powered on-board class-D stereo amp
                                                          Integrated DMX merger with LTP, HTP modes
                                                          Integrated MicroSD storage for
                                                           audio/timeline data
                                                          Battery, solar and charging capable
                                                          8 high powered relays optional
                                                          IR remote control available

                                                         Approvals and Certifications
                                                         CE, EN
                                                          X-PAR Driver is a high performance driver for
                                                            driving a range of 1W or
                                                          3W or 10W LED lighting, with 2 individual
                                                            outputs for RGBW.
                                                          12-position Dip-switches for DMX address,
                                                            Stand-alone function, and Output Mode.
Controllers-                                              USITT DMX512 (1990) multiplexed digital
PCBA X-PAR                                                  control, via 3-pin Phoenix connectors.
                                                          0~100% Fade time and 0.1~30s chasing
Driver
                                                            speed.
                                                          Built-in programs to have it run by itself
                                                          Flicking free
                                                          Input DC24V and provide up to 1200mA
                                                            Constant Current output
                                                          Power Failure Memory


                                                           High performance driver with 1W to 3W LED
                                                            lighting with 4 individual outputs and RJ45
                                                            sockets for RGBA
                                                          USITT DMX512(1990) multiplexed digital
                                                            control, via 3-pin Phoenix connectors
                                                          10 position and 6 position Dip-switches for
                                                            DMX address, Stand-alone, manual
Controllers- DMX
                                                            dimming, and output mode
Driver MR                                                 0-100% fade time and 0.1-30s chasing speed
                                                          Built-in programs to have it run by itself
                                                          Flicker free
                                                          Ability to AC88-132VAC/AC176-264VAC
                                                            power input standard optional via voltage
                                                            selector
                                                          Power failure memory




200424JDM04 Onion Coach Quote                                                                  Page 4 of 9
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                                                           The rugged series of TWND switches offers both
                                                           variety and durability in an attractive design.
                                                           With button sizes up to 2 9/16” (65mm), chrome
                                                           plated zinc locking rings, die cast zinc mounting
                                                           threads, steel anti-rotation rings, and self
                                                           cleaning contacts, the TWNDs are here to stay.
                                                           The TWND series also offers LED illumination in full
Switches and
                                                           voltage and transformer models. Regardless of
Indicators- IDEC                                           your switching needs, the NEW TWND series
                                                           provides the kind of long lasting, industrial
                                                           strength quality you’ve come to expect from
                                                           IDEC.

                                                           Approvals and Certifications
                                                            UL-E68961, CSA, TUV, CE, CCC




                                                            Rich color changing effect
                                                            Very long operation life in excess of 50,000
                                                             hours
Light Fixtures- X-                                          Low energy consumption 120W
PAR 56                                                      Robust construction suitable for outdoor
                                                             application
                                                            Fully controlled by external RDM/DMX C/C
                                                             driver




                                                              High power CreeLED with 50,000 hours
Lighting- BLZ-52                                               operating time.




200424JDM04 Onion Coach Quote                                                                     Page 5 of 9
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                                                              Rich color changing effect
                                                              Very long operation life in excess of 50,000
                                                               hours
Lighting- X-                                                  Low energy consumption 60W
AR160                                                         Robust construction suitable for outdoor
                                                               application
                                                              Fully controlled by external RDM/DMX C/C
                                                               driver




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   C. Price Overview

      Onion Coach
      Activities                         Man      Man hour     Total Man     Labor Cost    Material Cost
                                         Power                 hour          (USD)         (USD)

      Labor
      Project Manager                     1 pax     10 hours      10 hours       415.80
      Supervisor                          1 pax     20 hours      20 hours       346.96
      Mech. Tech                            -          -             -             -
      Elec. Tech                          2 pax     80 hours     160 hours      1,667.94
      Programmer                          1 pax     16 hours      16 hours       166.79
      Installation                        2 pax     40 hours      80 hours       833.97


      Materials
      Show Controls

                   Sub-system Control                                                         16,290.27

                          Distribution                                                        2,511.35

                           Controllers                                                        3,322.76

                             Network                                                              -

      Operations Control Console                                                               690.25

                       OCC Switches                                                            701.27

                       OCC Indicator                                                           187.25

      Light Fixtures                                                                          8,449.00

      Wiring and Connectors                                                                   8,465.34

      Indirect Cost

                          Office Cost                                                          579.58
           Tarlac Site General Cost
        (PM, Transportation, Driver,
             Toll, Daily Allowances,                                                          2,897.91
            Supervisor, Technician,
                       Programmer)
       Packing Materials to Tarlac
                                                                                               144.90
                                  Site
          Import costs of materials,
                                                                                              1,747.20
               Freight, duties, Taxes
       Product Sample/ Prototype
                                                                                              1,014.27
                 Development cost
      Installation Materials                                                                  1,304.06




200424JDM04 Onion Coach Quote                                                                         Page 7 of 9
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      Price Summary

                                    Labour      Material     Indirect   Installation
      Floats                                                                                Total (USD)
                                 cost (USD)   Cost (USD)   Cost (USD)     Materials
      Onion coach                  3,431.46    40,617.49     6,383.86      1,304.06          51,736.87




      Total Price- Onion coach                                                         USD 51,736.87
      Less Discount                                                                    USD    636.87
      Total Amount                                                                     USD 51,100.00




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   D.    Delivery Terms and Payment
    Exworks Angeles City Pampanga, Philippines
    Validity: 30 days from the date of this quote.
    Prices in USD exclusive VAT.
    Payment:
   * 50% upon ordering, within 7 days from date of invoice. Note that the work starts upon receipt of payment.
   * 50% upon project completion prior to shipping, within 7 days from date of invoice.
    Warranty: 12 months after hand over.
    Components or equipment manufactured by third parties and supplied to the Project will have the original
      manufacturer’s warranty. (like LCD screens, amplifiers, audio control units, loudspeakers, microphones, light equipment
      (Except LEDs, see above) or special effects equipment). When replacement is needed for any reason, Lagotronics Phil.
      Inc is not responsible for original manufacturer’s delivery time.
    This warranty consists of the pure and simple exchange of parts recognized as being defective or of their reconditioning
      in a workshop recommended. Lagotronics Phil. Inc should replace any defective part found during the warranty period
      as promptly as possible. Freight, customs and labor are not included. In case of an extraordinary defect, which requires
      specialist installation works that cannot be performed by BUYER’s maintenance department or cannot be handled
      through computer (internet connection) assistance and/or phone assistance, Lagotronics Phil. Inc and the Buyer will
      discuss the optimum way to resolve the issue.
    Lagotronics Phil. Inc shall provide full documentation of the PRODUCT during Factory Acceptance Test (FAT) and within 4
      weeks after Site Acceptance Test (SAT) “As build” updates. During set-up and programming we will include a 1-day
      training for the maintenance personnel on-site to take care of repairs and replacement of equipment.
    The warranty is declared null and void in case that:
      a.            BUYER or third party modifies the EQUIPMENT without Lagotronics Phil. Inc authorization;
      b.            BUYER proceeds to modify, alter or repair a defect without Lagotronics Phil. Inc authorization;
      c.            BUYER fails to take proper and quick action to limit the damage;
      d.            BUYER doesn’t grant Lagotronics Phil. Inc the opportunity to remove/remedy the defect.
    Lagotronics Phil. Inc is not responsible under this clause for any defects, which are due to vandalism or
      BUYER’s’ non-compliance to material written instructions.
    Lagotronics Phil. Inc warrants that the EQUIPMENT and equipment documentation as delivered shall be free from any
      and all defects in design, material, fabrication and workmanship, and that the EQUIPMENT and equipment
      documentation shall confirm to the description, specifications, specific considerations, fabrication criteria, and standards
      stated herein. Lagotronics Phil. Inc further warrants that the EQUIPMENT shall be of first class quality and fit for the purpose
      for which intended;
    Assembly work and assembly materials at theme park site are NOT included. The unit will be assembled in Angeles for
      FAT. Please see separate quote for on-site installation option.
    Any extra work and/or materials will be charged after written permission from the customer in accordance with the
      applicable rates at the time of commitment/purchase.
    All drawings and/or quotations and/or designs remain the property of Lagotronics Phil. Inc and may not be handed over
      to third parties for any purpose whatsoever.
       This agreement shall be governed by Philippine Law.




Carlo Görtjes
President




Barry Kern/ Caskey Miller
Blain Kern Artists




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Kern Studios LLC                                                                                Lagotronics Philippines Inc.
1380 Port of New Orleans Place                                                                  Sitio Cubol,
                                                                                                BarangaySapalibutad
New Orleans, LA 70130                                                                           2009 Angeles City
Attn: Caskey Miller                                                                             Pampanga, Philippines
Email: caskey@kernstudios.com
                                                                                                Contact Details:
                                                                                                Netherlands:
                                                                                                Tel.: +31 653 122 579 (NL)
                                                                                                carlo.gortjes@lgholding.nl

                                                                                                Philippines:
                                                                                                sales@lagotronics.ph
                                                                                                jdm09.lagotronics.ph@gmail.com

                                                                                                Tel.: +63 917 176 2378 (PHL)
                                                                                                www.lagotronics.ph

Philippines, 24 April 2020                  Your ID: Caskey Miller                        Project: KERN-UBR Floats
                                            Our ID: Carlo Gortjes                         Subject: 200424JDM05 Mr Ping
                                                                                          Quote

    A.   General
         As a part of the Universal Beijing Floats project, Universal Studios asked Kern Studios to send a proposal in building Mr.
         Ping Float with float number 719-602-FLT-027.

    B.   Scope of Works

         1.   Mr. Ping Float

              a.   Inclusions
                             Assembly of SCC/OCC box as per UBR standards
                             Installation of boxes and laying of cables in the float
                             Installation of lights in the floats (Show light and Character Lighting)
                             Initial programming
                             FAT (Factory Acceptance Test) (see quote 200430JDM01 UBR Float- FAT quote)
                             Final programming upon FAT to be directed by UBR (see quote 200430JDM01 UBR Float- FAT quote)

              b.   Labour Breakdown

                                                                                 Man power             Man hours             Total Man hours
                   Project Manager                                                 1 pax                10 hours                 10 hours
                   Supervisor                                                      1 pax                20 hours                 20 hours
                   Mechanical Technician                                              -                     -                        -
                   Electronics Technician                                          2 pax                80 hours                160 hours
                   Programmer                                                      1 pax                16 hours                 16 hours
                   Installation                                                    2 pax                40 hours                 80 hours
                                                                      Total                                                     286 hours

              c.   Exclusions
                             SAT (Site Acceptance Test) to be done in Beijing, China
                             Installation on-site (Beijing, China)




200424JDM05 Mr Ping Float Quote                                                                                                Page 1 of 8
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                  d.   Materials Overview
                       In reference to the DDR documents of Mr. Ping Float as of April 24, 2020

Enclosure
                                                                                              IP66 Sheet Steel Wall Boxes, AE series
                                                                                              The AE series wall box from Rittal has a strong
                                                                                              unibody construction which has been dipcoat-
                                                                                              primed and powder coated in a textured light
                                                                                              grey finish for added corrosion protection. The
                                                                                              door is interchangeable allowing it to be
                                                                                              mounted on either side of the enclosure and is
                                                                                              fitted with 2 cam locks and a foam gasket. The
                                                                                              enclosure is also supplied with a gland plate in
                                                                                              the base and a zinc plated mounting plate.
                                                                                              IP66 protection
Rittal                                                                                        Made from sheet steel
                                                                                              Outside of enclosure is dipcoat-primed and
                                                                                              powder coated (RAL 7035 light grey)
                                                                                              Door interchangeable, 130° opening
                                                                                              Door fitted with 2 cam locks and foam gasket
                                                                                              Pre-punched for wall mounting brackets and
                                                                                              interchangeable doors

                                                                                              Approvals and Certifications
                                                                                              IP66 to EN 60 529/10.91, NEMA Type 4.
                                                                                              UL, CSA, TUV, VDE
Devices to be
used




                                                                                              Complete fan unit for tool-free mounting on
                                                                                              surfaces. Air throughput from 20 - 900 m³/h,
                                                                                              protection category IP 54 as standard.
Exhaust Fan-
Rittal                                                                                        Approvals and Certifications
                                                                                              UR/cUR, UL/cUL- FTTA, CSA, EAC




                                                                                              1. Work Voltage: DC12V /DC24V
                                                                                              2. LED QTY: 120Pcs SMD2835
                                                                                              3. PCB width:8MM/10MM, PCB color:white color
                                                                                              4. Led view angle: 120 degree
Service Lights-
                                                                                              5. Power comsuption: 20W/M
GreeLED                                                                                       6. Package: 5M/Reel
                                                                                              7. Luminous Flux: 22-24lum/led
                                                                                              8. CCT Options:2800-3200K/4000-4500K/6000-
                                                                                              6500K




200424JDM05 Mr Ping Float Quote                                                                                                   Page 2 of 8
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                                                          System pro M compact S200M miniature circuit
                                                          breakers are current limiting. They have two
                                                          different tripping mechanisms, the delayed
                                                          thermal tripping mechanism for overload
                                                          protection and the electromechanic tripping
                                                          mechanism for short circuit protection. They are
                                                          available in different characteristics (B,C,D,K,Z),
                                                          configurations (1P,1P+N,2P,3P,3P+N,4P),
Circuit Breakers-                                         breaking capacities (up to 10 kA at 230/400 V
ABB                                                       AC) and rated currents (up to 63A). All MCBs of
                                                          the product range S200M comply with IEC/EN
                                                          60898-1 and IEC/EN 609 47-2, allowing the use
                                                          for residential, commercial and industrial
                                                          applications. Bottom-fitting auxiliary contact
                                                          can be mounted on S200M to save 50% space.

                                                          Approvals and Certifications
                                                          IEC/EN 60898-1, IEC/EN 60947-2, CCC




                                                           End holes can be used to fix busbar to a
                                                            support or connect the main input conductor
                                                           Heavy-duty power connection
                                                           Circuit breaker, generator and prefabricated
                                                            power network conductor
                                                           Alternative to large and multiple cables
                                                           Earth/ground connection
                                                           Power distribution
Busbars- nVent                                             Rounded edges

                                                          Approvals and Certifications
                                                          UL2885, IEC 60754-1, IEC 62821-2, IEC 60695-2-11
                                                          (Glow Wire Test 960°C), IEC 61439.1, IEC 61439.1
                                                          Class II, CE, RoHS, EN 45545: HL2 classification,
                                                          Bureau Veritas (Marine & Offshore),EAC,ABS
                                                          American Bureau of Shipping




                                                          Typically used in DC power systems in marine
                                                          applications (as a main or branch circuit
                                                          breaker), truck and bus systems, RV systems,
                                                          add-on protection for accessories, lift gates, etc.
Busbars- Eaton                                            This unit is external ignition protected and
                                                          weatherproof.

                                                          Approvals and Certifications
                                                          ABYC E-11; CE; SAE J1171 (ignition protected)




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                                                         Realized about 25% lower profile than
                                                          conventional products, contributing to further
                                                          miniaturization of the control panel.
                                                         Optimal slim, high frequency, high-speed
                                                          opening and closing
                                                         SSR (solid state relay).
                                                         Realized a slim shape with a switching
                                                          capacity up to 3 A (DC), and 2 A (AC).
                                                         Because MOSFET is used for the outlet
                                                          element for the DC load, opening and
                                                          closing load of 100 μA to 3 A is possible.
                                                         Check operating status at a glance at the
SSR- Omron                                                operating display LED.
                                                         Mounted I/O SSR (solid-state relay) uses plug-
                                                          in terminals that are difficult to bend when
                                                          exchanging.
                                                         G2RV-SR featuring a general-purpose relay
                                                          similar in shape to G3RV-SR also available.

                                                        Approvals and Certifications
                                                        UL 508 (file No.E64562), TÜV(EN 62314), CE




                                                         ProCommander 3: Comprehensive Show
                                                          Control Solution
                                                         Engineered using the highest level of quality
                                                          standards, this controller supports a wide
                                                          variety of industry standard I/Os.
                                                         16 digital outputs at 48VDC/500ma
                                                         16 digital inputs OR 8 digital and 8 analog
                                                         3 RS-232 serial ports (1 RS-485 capable with
                                                          adapter)
                                                         512 channels of DMX in/out
                                                         4 Analog outputs
Controllers-                                             4 servo outputs
Procommander                                             On-board Ethernet
                                                         High power MOSFET Transistors
3
                                                         Mounts in 1/2 rack space
                                                         High powered on-board class-D stereo amp
                                                         Integrated DMX merger with LTP, HTP modes
                                                         Integrated MicroSD storage for
                                                          audio/timeline data
                                                         Battery, solar and charging capable
                                                         8 high powered relays optional
                                                         IR remote control available

                                                        Approvals and Certifications
                                                        CE, EN
                                                         MR Driver is a high performance driver for
                                                           driving a range of 1W or
                                                         3W or 10W LED lighting, with 4 individual
                                                           outputs for R,G,B,W.
                                                         14-position Dip-switches for DMX address,
                                                           Stand-alone
                                                         function, and Manual Dimming.
Controllers-                                             USITT DMX512 (1990) multiplexed digital
PCBA Controller                                            control, via 3-pin Phoenix
                                                         connectors.
MR
                                                         0~100% Fade time and 0.1~30s chasing
                                                           speed.
                                                         Built-in programs to have it run by itself
                                                         Flicking free
                                                         Input DC24V and provide up to 750mA
                                                           Constant Current Output
                                                         Power Failure Memory




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                                                             The rugged series of TWND switches offers both
                                                             variety and durability in an attractive design.
                                                             With button sizes up to 2 9/16” (65mm), chrome
                                                             plated zinc locking rings, die cast zinc mounting
                                                             threads, steel anti-rotation rings, and self
                                                             cleaning contacts, the TWNDs are here to stay.
                                                             The TWND series also offers LED illumination in full
Switches and
                                                             voltage and transformer models. Regardless of
Indicators- IDEC                                             your switching needs, the NEW TWND series
                                                             provides the kind of long lasting, industrial
                                                             strength quality you’ve come to expect from
                                                             IDEC.

                                                             Approvals and Certifications
                                                              UL-E68961, CSA, TUV, CE, CCC




                                                                High power CreeLED with 50,000 hours
Lighting- BLZ-52                                                 operating time.




                                                              Rich color changing effect
                                                              Very long operation life in excess of 50,000
                                                               hours
Lighting- X-                                                  Low energy consumption 60W
AR160                                                         Robust construction suitable for outdoor
                                                               application
                                                              Fully controlled by external RDM/DMX C/C
                                                               driver




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   C. Price Overview

       Mr. Ping Float
       Activities                         Man      Man hour     Total Man     Labor Cost    Material Cost
                                          Power                 hour          (USD)         (USD)

       Labor
       Project Manager                     1 pax     10 hours      10 hours       415.80
       Supervisor                          1 pax     20 hours      20 hours       346.96
       Mech. Tech                            -          -             -             -
       Elec. Tech                          2 pax     80 hours     160 hours      1,667.94
       Programmer                          1 pax     16 hours      16 hours       166.79
       Installation                        2 pax     40 hours      80 hours       833.97


       Materials
       Show Controls

                    Sub-system Control                                                         11,458.38

                           Distribution                                                        1,312.58

                            Controllers                                                        2,478.30

                              Network                                                              -

       Operations Control Console                                                               598.46

                        OCC Switches                                                            695.03

                        OCC Indicator                                                           187.25

       Light Fixtures                                                                          3,386.85

       Wiring and Connectors                                                                   5,799.97

       Indirect Cost

                           Office Cost                                                          579.58
           Tarlac Site General Cost
        (PM, Transportation, Driver,
             Toll, Daily Allowances,                                                           2,897.91
            Supervisor, Technician,
                       Programmer)
       Packing Materials to Tarlac
                                                                                                144.90
                                  Site
          Import costs of materials,
                                                                                               1,747.20
               Freight, duties, Taxes
       Product Sample/ Prototype
                                                                                               1,014.27
                 Development cost
       Installation Materials                                                                  1,304.06




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       Price Summary

                                        Labour      Material     Indirect   Installation
       Floats                                                                                   Total (USD)
                                     cost (USD)   Cost (USD)   Cost (USD)     Materials
       Mr. Ping Float                  3,431.46    25,916.82     6,383.86      1,304.06          37,036.20




       Total Price- Mr. Ping Float                                                         USD 37,036.20
       Less Discount                                                                       USD    436.20
       Total Amount                                                                        USD 36,600.00




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   D.    Delivery Terms and Payment
    Exworks Angeles City Pampanga, Philippines
    Validity: 30 days from the date of this quote.
    Prices in USD exclusive VAT.
    Payment:
   * 50% upon ordering, within 7 days from date of invoice. Note that the work starts upon receipt of payment.
   * 50% upon project completion prior to shipping, within 7 days from date of invoice.
    Warranty: 12 months after hand over.
    Components or equipment manufactured by third parties and supplied to the Project will have the original
      manufacturer’s warranty. (like LCD screens, amplifiers, audio control units, loudspeakers, microphones, light equipment
      (Except LEDs, see above) or special effects equipment). When replacement is needed for any reason, Lagotronics Phil.
      Inc is not responsible for original manufacturer’s delivery time.
    This warranty consists of the pure and simple exchange of parts recognized as being defective or of their reconditioning
      in a workshop recommended. Lagotronics Phil. Inc should replace any defective part found during the warranty period
      as promptly as possible. Freight, customs and labor are not included. In case of an extraordinary defect, which requires
      specialist installation works that cannot be performed by BUYER’s maintenance department or cannot be handled
      through computer (internet connection) assistance and/or phone assistance, Lagotronics Phil. Inc and the Buyer will
      discuss the optimum way to resolve the issue.
    Lagotronics Phil. Inc shall provide full documentation of the PRODUCT during Factory Acceptance Test (FAT) and within 4
      weeks after Site Acceptance Test (SAT) “As build” updates. During set-up and programming we will include a 1-day
      training for the maintenance personnel on-site to take care of repairs and replacement of equipment.
    The warranty is declared null and void in case that:
      a.            BUYER or third party modifies the EQUIPMENT without Lagotronics Phil. Inc authorization;
      b.            BUYER proceeds to modify, alter or repair a defect without Lagotronics Phil. Inc authorization;
      c.            BUYER fails to take proper and quick action to limit the damage;
      d.            BUYER doesn’t grant Lagotronics Phil. Inc the opportunity to remove/remedy the defect.
    Lagotronics Phil. Inc is not responsible under this clause for any defects, which are due to vandalism or
      BUYER’s’ non-compliance to material written instructions.
    Lagotronics Phil. Inc warrants that the EQUIPMENT and equipment documentation as delivered shall be free from any
      and all defects in design, material, fabrication and workmanship, and that the EQUIPMENT and equipment
      documentation shall confirm to the description, specifications, specific considerations, fabrication criteria, and standards
      stated herein. Lagotronics Phil. Inc further warrants that the EQUIPMENT shall be of first class quality and fit for the purpose
      for which intended;
    Assembly work and assembly materials at theme park site are NOT included. The unit will be assembled in Angeles for
      FAT. Please see separate quote for on-site installation option.
    Any extra work and/or materials will be charged after written permission from the customer in accordance with the
      applicable rates at the time of commitment/purchase.
    All drawings and/or quotations and/or designs remain the property of Lagotronics Phil. Inc and may not be handed over
      to third parties for any purpose whatsoever.
       This agreement shall be governed by Philippine Law.




Carlo Görtjes
President




Barry Kern/ Caskey Miller
Blain Kern Artists




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Kern Studios LLC                                                                                Lagotronics Philippines Inc.
1380 Port of New Orleans Place                                                                  Sitio Cubol,
                                                                                                BarangaySapalibutad
New Orleans, LA 70130                                                                           2009 Angeles City
Attn: Caskey Miller                                                                             Pampanga, Philippines
Email: caskey@kernstudios.com
                                                                                                Contact Details:
                                                                                                Netherlands:
                                                                                                Tel.: +31 653 122 579 (NL)
                                                                                                carlo.gortjes@lgholding.nl

                                                                                                Philippines:
                                                                                                sales@lagotronics.ph
                                                                                                jdm09.lagotronics.ph@gmail.com

                                                                                                Tel.: +63 917 176 2378 (PHL)
                                                                                                www.lagotronics.ph

Philippines, 07 May 2020                    Your ID: Caskey Miller                        Project: KERN-UBR Floats
                                            Our ID: Carlo Gortjes                         Subject: 200507JDM01 Yellow Cart
                                                                                          Quote

    A.   General
         As a part of the Universal Beijing Floats project, Universal Studios asked Kern Studios to send a proposal in building
         Yellow Cart with float number 719-602-FLT-009.

    B.   Scope of Works

         1.   Yellow Cart

              a.   Inclusions
                             Assembly of SCC/OCC box as per UBR standards
                             Installation of boxes and laying of cables in the float
                             Installation of lights in the floats (Show light and Character Lighting)
                             Initial programming
                             FAT (Factory Acceptance Test) (see quote 200430JDM01 UBR Float- FAT quote)
                             Final programming upon FAT to be directed by UBR (see quote 200430JDM01 UBR Float- FAT quote)

              b.   Labour Breakdown

                                                                                 Man power             Man hours             Total Man hours
                   Project Manager                                                 1 pax                10 hours                 10 hours
                   Supervisor                                                      1 pax                20 hours                 20 hours
                   Mechanical Technician                                           2 pax                80 hours                160 hours
                   Electronics Technician                                          2 pax                80 hours                160 hours
                   Programmer                                                      1 pax                24 hours                 24 hours
                   Installation                                                    2 pax                48 hours                 96 hours
                                                                      Total                                                     470 hours

              c.   Exclusions
                             SAT (Site Acceptance Test) to be done in Beijing, China
                             Installation on-site (Beijing, China)




200507JDM01 Yellow Cart Quote                                                                                                  Page 1 of 9
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                d.   Materials Overview
                     In reference to the DDR documents of Yellow Cart as of May 07, 2020

Enclosure
                                                                                           IP66 Sheet Steel Wall Boxes, AE series
                                                                                           The AE series wall box from Rittal has a strong
                                                                                           unibody construction which has been dipcoat-
                                                                                           primed and powder coated in a textured light
                                                                                           grey finish for added corrosion protection. The
                                                                                           door is interchangeable allowing it to be
                                                                                           mounted on either side of the enclosure and is
                                                                                           fitted with 2 cam locks and a foam gasket. The
                                                                                           enclosure is also supplied with a gland plate in
                                                                                           the base and a zinc plated mounting plate.
                                                                                           IP66 protection
Rittal                                                                                     Made from sheet steel
                                                                                           Outside of enclosure is dipcoat-primed and
                                                                                           powder coated (RAL 7035 light grey)
                                                                                           Door interchangeable, 130° opening
                                                                                           Door fitted with 2 cam locks and foam gasket
                                                                                           Pre-punched for wall mounting brackets and
                                                                                           interchangeable doors

                                                                                           Approvals and Certifications
                                                                                           IP66 to EN 60 529/10.91, NEMA Type 4.
                                                                                           UL, CSA, TUV, VDE
Devices to be
used




                                                                                           Complete fan unit for tool-free mounting on
                                                                                           surfaces. Air throughput from 20 - 900 m³/h,
                                                                                           protection category IP 54 as standard.
Exhaust Fan-
Rittal                                                                                     Approvals and Certifications
                                                                                           UR/cUR, UL/cUL- FTTA, CSA, EAC




Service Lights-                                                                             Ideal halogen replacement for an easy
Hella ECO18 LED                                                                              conversion
                                                                                            Compact size and universal shape
/ ECO26 LED
(Dimmable)                                                                                  Also available as a reversing light




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                                                          System pro M compact S200M miniature circuit
                                                          breakers are current limiting. They have two
                                                          different tripping mechanisms, the delayed
                                                          thermal tripping mechanism for overload
                                                          protection and the electromechanic tripping
                                                          mechanism for short circuit protection. They are
                                                          available in different characteristics (B,C,D,K,Z),
                                                          configurations (1P,1P+N,2P,3P,3P+N,4P),
Circuit Breakers-                                         breaking capacities (up to 10 kA at 230/400 V
ABB                                                       AC) and rated currents (up to 63A). All MCBs of
                                                          the product range S200M comply with IEC/EN
                                                          60898-1 and IEC/EN 609 47-2, allowing the use
                                                          for residential, commercial and industrial
                                                          applications. Bottom-fitting auxiliary contact
                                                          can be mounted on S200M to save 50% space.

                                                          Approvals and Certifications
                                                          IEC/EN 60898-1, IEC/EN 60947-2, CCC




                                                           End holes can be used to fix busbar to a
                                                            support or connect the main input conductor
                                                           Heavy-duty power connection
                                                           Circuit breaker, generator and prefabricated
                                                            power network conductor
                                                           Alternative to large and multiple cables
                                                           Earth/ground connection
                                                           Power distribution
Busbars- nVent                                             Rounded edges

                                                          Approvals and Certifications
                                                          UL2885, IEC 60754-1, IEC 62821-2, IEC 60695-2-11
                                                          (Glow Wire Test 960°C), IEC 61439.1, IEC 61439.1
                                                          Class II, CE, RoHS, EN 45545: HL2 classification,
                                                          Bureau Veritas (Marine & Offshore),EAC,ABS
                                                          American Bureau of Shipping




                                                          Typically used in DC power systems in marine
                                                          applications (as a main or branch circuit
                                                          breaker), truck and bus systems, RV systems,
                                                          add-on protection for accessories, lift gates, etc.
Busbars- Eaton                                            This unit is external ignition protected and
                                                          weatherproof.

                                                          Approvals and Certifications
                                                          ABYC E-11; CE; SAE J1171 (ignition protected)




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                                                          Realized about 25% lower profile than
                                                           conventional products, contributing to further
                                                           miniaturization of the control panel.
                                                          Optimal slim, high frequency, high-speed
                                                           opening and closing
                                                          SSR (solid state relay).
                                                          Realized a slim shape with a switching
                                                           capacity up to 3 A (DC), and 2 A (AC).
                                                          Because MOSFET is used for the outlet
                                                           element for the DC load, opening and
                                                           closing load of 100 μA to 3 A is possible.
                                                          Check operating status at a glance at the
SSR- Omron                                                 operating display LED.
                                                          Mounted I/O SSR (solid-state relay) uses plug-
                                                           in terminals that are difficult to bend when
                                                           exchanging.
                                                          G2RV-SR featuring a general-purpose relay
                                                           similar in shape to G3RV-SR also available.

                                                         Approvals and Certifications
                                                         UL 508 (file No.E64562), TÜV(EN 62314), CE




                                                          ProCommander 3: Comprehensive Show
                                                           Control Solution
                                                          Engineered using the highest level of quality
                                                           standards, this controller supports a wide
                                                           variety of industry standard I/Os.
                                                          16 digital outputs at 48VDC/500ma
                                                          16 digital inputs OR 8 digital and 8 analog
                                                          3 RS-232 serial ports (1 RS-485 capable with
                                                           adapter)
                                                          512 channels of DMX in/out
                                                          4 Analog outputs
Controllers-                                              4 servo outputs
Procommander                                              On-board Ethernet
                                                          High power MOSFET Transistors
3
                                                          Mounts in 1/2 rack space
                                                          High powered on-board class-D stereo amp
                                                          Integrated DMX merger with LTP, HTP modes
                                                          Integrated MicroSD storage for
                                                           audio/timeline data
                                                          Battery, solar and charging capable
                                                          8 high powered relays optional
                                                          IR remote control available

                                                         Approvals and Certifications
                                                         CE, EN
                                                          Ethernet
                                                          WEM-NET
                                                          Mini USB
                                                          LCD-Display
                                                          RS-232
                                                          RS-485
                                                          DMX-512 In
                                                          ArtNet Support
                                                          Software configurable
Contollers- Weigl                                         Extensive ASCII-protocol for a wide range of
Pro I/O                                                     control options
                                                          Hardware interface for any kind of pc
                                                            related control programs
                                                          19” rack mount adapter and Din-rail mount
                                                            available
                                                          Support for Weigl Digital Motor Library (where
                                                            applicable)

                                                         Approvals and Certifications
                                                         CE, EN




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                                                           MR Driver is a high performance driver for
                                                            driving a range of 1W or
                                                           3W or 10W LED lighting, with 4 individual
                                                            outputs for R,G,B,W.
                                                           14-position Dip-switches for DMX address,
                                                            Stand-alone
                                                           function, and Manual Dimming.
Controllers-                                               USITT DMX512 (1990) multiplexed digital
PCBA Controller                                             control, via 3-pin Phoenix
                                                           connectors.
MR
                                                           0~100% Fade time and 0.1~30s chasing
                                                            speed.
                                                           Built-in programs to have it run by itself
                                                           Flicking free
                                                           Input DC24V and provide up to 750mA
                                                            Constant Current Output
                                                           Power Failure Memory




                                                             Offers a low-cost, compact solution
                                                             Includes ability to automatically negotiate
                                                              speed and duplex settings
Networks- Allen
                                                             Operates on 20V AC or 24V DC power
Bradley 5 Port                                               Includes automatic cable cross-over
Ethernet Switch                                               detection
STRATIX 2000
                                                          Approvals and Certification
                                                          CE, C-Tick, c-UL-us, EAC, EtherNet/IP, Ex, IEC/Ex,
                                                          KC, RCM




                                                          The rugged series of TWND switches offers both
                                                          variety and durability in an attractive design.
                                                          With button sizes up to 2 9/16” (65mm), chrome
                                                          plated zinc locking rings, die cast zinc mounting
                                                          threads, steel anti-rotation rings, and self
                                                          cleaning contacts, the TWNDs are here to stay.
                                                          The TWND series also offers LED illumination in full
Switches and
                                                          voltage and transformer models. Regardless of
Indicators- IDEC                                          your switching needs, the NEW TWND series
                                                          provides the kind of long lasting, industrial
                                                          strength quality you’ve come to expect from
                                                          IDEC.

                                                          Approvals and Certifications
                                                           UL-E68961, CSA, TUV, CE, CCC




                                                             High power CreeLED with 50,000 hours
Lighting- BLZ-52                                              operating time.




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Animated
Figure-
SAVOX Monster
                                                            Full Aluminum Case
Torque Brushless
                                                            3 Precision Ball Bearings.
Servo, Black                                                Unique steel gears
Edition .13sec /
694.4oz @ 7.4v




Animated
Figure-                                                     The AlphaStep AZ Series stepper motor offers
2.36 in. (60 mm)                                             closed loop control, substantially reduces
                                                             heat generation from the motor and by
Stepper Motor
                                                             incorporating the newly developed
with Absolute                                                Absolute Mechanical Encoder, absolute-
Mechanical                                                   type positioning is available, without battery
                                                             back up or external sensors to buy.
Encoder




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   C. Price Overview

      Yellow Cart
      Activities                          Man      Man hour     Total Man     Labor Cost    Material Cost
                                          Power                 hour          (USD)         (USD)

      Labor
      Project Manager                      1 pax     10 hours      10 hours       415.80
      Supervisor                           1 pax     20 hours      20 hours       346.96
      Mech. Tech                           2 pax     80 hours     160 hours      1,667.94
      Elec. Tech                           2 pax     80 hours     160 hours      1,667.94
      Programmer                           1 pax     24 hours      24 hours       250.16
      Installation                         2 pax     48 hours      96 hours      1,000.76


      Materials
      Show Controls

                   Sub-system Control                                                          20,483.94

                           Distribution                                                        2,291.85

                           Controllers                                                         5,782.71

                             Network                                                            361.39

      Operations Control Console                                                               1,121.46

                       OCC Switches                                                            1,152.87

                       OCC Indicator                                                            187.25

      Light Fixtures                                                                            112.35

      Wiring and Connectors                                                                    5,454.58

      Animated figure                                                                          1,806.25

                Dronkey Wings Flap                                                             4,336.59

                     Dronkey Eye Blink                                                         4,269.32
        Ogre Baby A- Right Wrist
                                                                                               4,608.29
                        Spinning
       Ogre Baby A- Eye Blink Left
                                                                                               4,291.34
                      and Right
         Ogre Baby B- Right Arm
                                                                                               4,608.29
                           Wave
              Ogre Baby B- Eye Turn                                                            4,199.56

            Ogre Baby C- Eye Turn                                                              2,696.41

      Indirect Cost

                          Office Cost                                                           579.58
          Tarlac Site General Cost
        (PM, Transportation, Driver,
            Toll, Daily Allowances,                                                            2,897.91
           Supervisor, Technician,
                      Programmer)

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       Packing Materials to Tarlac
                                                                                                144.90
                                Site
          Import costs of materials,
                                                                                                1,747.20
             Freight, duties, Taxes
       Product Sample/ Prototype
                                                                                                1,014.27
               Development cost
      Installation Materials                                                                    2,173.43




      Price Summary

                                           Labour      Material     Indirect   Installation
      Floats                                                                                        Total (USD)
                                        cost (USD)   Cost (USD)   Cost (USD)     Materials
      Yellow Cart                         5,349.56    67,764.45     6,383.86      2,173.43            81,671.30




       Total Price- Yellow Cart Float                                                         USD 81,671.30
       Less Discount                                                                          USD 1,271.30
       Total Amount                                                                           USD 80,400.00




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   D.    Delivery Terms and Payment
    Exworks Angeles City Pampanga, Philippines
    Validity: 30 days from the date of this quote.
    Prices in USD exclusive VAT.
    Payment:
   * 50% upon ordering, within 7 days from date of invoice. Note that the work starts upon receipt of payment.
   * 50% upon project completion prior to shipping, within 7 days from date of invoice.
    Warranty: 12 months after hand over.
    Components or equipment manufactured by third parties and supplied to the Project will have the original
      manufacturer’s warranty. (like LCD screens, amplifiers, audio control units, loudspeakers, microphones, light equipment
      (Except LEDs, see above) or special effects equipment). When replacement is needed for any reason, Lagotronics Phil.
      Inc is not responsible for original manufacturer’s delivery time.
    This warranty consists of the pure and simple exchange of parts recognized as being defective or of their reconditioning
      in a workshop recommended. Lagotronics Phil. Inc should replace any defective part found during the warranty period
      as promptly as possible. Freight, customs and labor are not included. In case of an extraordinary defect, which requires
      specialist installation works that cannot be performed by BUYER’s maintenance department or cannot be handled
      through computer (internet connection) assistance and/or phone assistance, Lagotronics Phil. Inc and the Buyer will
      discuss the optimum way to resolve the issue.
    Lagotronics Phil. Inc shall provide full documentation of the PRODUCT during Factory Acceptance Test (FAT) and within 4
      weeks after Site Acceptance Test (SAT) “As build” updates. During set-up and programming we will include a 1-day
      training for the maintenance personnel on-site to take care of repairs and replacement of equipment.
    The warranty is declared null and void in case that:
      a.            BUYER or third party modifies the EQUIPMENT without Lagotronics Phil. Inc authorization;
      b.            BUYER proceeds to modify, alter or repair a defect without Lagotronics Phil. Inc authorization;
      c.            BUYER fails to take proper and quick action to limit the damage;
      d.            BUYER doesn’t grant Lagotronics Phil. Inc the opportunity to remove/remedy the defect.
    Lagotronics Phil. Inc is not responsible under this clause for any defects, which are due to vandalism or
      BUYER’s’ non-compliance to material written instructions.
    Lagotronics Phil. Inc warrants that the EQUIPMENT and equipment documentation as delivered shall be free from any
      and all defects in design, material, fabrication and workmanship, and that the EQUIPMENT and equipment
      documentation shall confirm to the description, specifications, specific considerations, fabrication criteria, and standards
      stated herein. Lagotronics Phil. Inc further warrants that the EQUIPMENT shall be of first class quality and fit for the purpose
      for which intended;
    Assembly work and assembly materials at theme park site are NOT included. The unit will be assembled in Angeles for
      FAT. Please see separate quote for on-site installation option.
    Any extra work and/or materials will be charged after written permission from the customer in accordance with the
      applicable rates at the time of commitment/purchase.
    All drawings and/or quotations and/or designs remain the property of Lagotronics Phil. Inc and may not be handed over
      to third parties for any purpose whatsoever.
       This agreement shall be governed by Philippine Law.




Carlo Görtjes
President



Barry Kern/ Caskey Miller
Blain Kern Artists




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Kern Studios LLC                                                                                Lagotronics Philippines Inc.
1380 Port of New Orleans Place                                                                  Sitio Cubol,
                                                                                                BarangaySapalibutad
New Orleans, LA 70130                                                                           2009 Angeles City
Attn: Caskey Miller                                                                             Pampanga, Philippines
Email: caskey@kernstudios.com
                                                                                                Contact Details:
                                                                                                Netherlands:
                                                                                                Tel.: +31 653 122 579 (NL)
                                                                                                carlo.gortjes@lgholding.nl

                                                                                                Philippines:
                                                                                                sales@lagotronics.ph
                                                                                                jdm09.lagotronics.ph@gmail.com

                                                                                                Tel.: +63 917 176 2378 (PHL)
                                                                                                www.lagotronics.ph

Philippines, 14 May 2020                    Your ID: Caskey Miller                        Project: KERN-UBR Floats
                                            Our ID: Carlo Gortjes                         Subject: 200514JDM01 Lantern
                                                                                          Float Quote Revised

    A.   General
         As a part of the Universal Beijing Floats project, Universal Studios asked Kern Studios to send a proposal in building
         Lantern Float with float number 719-602-FLT-020.

    B.   Scope of Works

         1.   Lantern Float

              a.   Inclusions
                             Assembly of SCC/OCC box as per UBR standards
                             Installation of boxes and laying of cables in the float
                             Installation of lights in the floats (Show light and Character Lighting)
                             Initial programming
                             FAT (Factory Acceptance Test) (see quote 200430JDM01 UBR Float- FAT quote)
                             Final programming upon FAT to be directed by UBR (see quote 200430JDM01 UBR Float- FAT quote)

              b.   Labour Breakdown

                                                                                 Man power             Man hours             Total Man hours
                   Project Manager                                                 1 pax                10 hours                 10 hours
                   Supervisor                                                      1 pax                20 hours                 20 hours
                   Mechanical Technician                                           0 pax                0 hours                  0 hours
                   Electronics Technician                                          2 pax                80 hours                160 hours
                   Programmer                                                      1 pax                24 hours                 24 hours
                   Installation                                                    2 pax                80 hours                160 hours
                                                                      Total                                                     374 hours

              c.   Exclusions
                             SAT (Site Acceptance Test) to be done in Beijing, China
                             Installation on-site (Beijing, China)




200514JDM01 Lantern Float Quote                                                                                                Page 1 of 10
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                d.   Materials Overview
                     In reference to the DDR documents of Lantern Float as of May 14, 2020

Enclosure
                                                                                         IP66 Sheet Steel Wall Boxes, AE series
                                                                                         The AE series wall box from Rittal has a strong
                                                                                         unibody construction which has been dipcoat-
                                                                                         primed and powder coated in a textured light
                                                                                         grey finish for added corrosion protection. The
                                                                                         door is interchangeable allowing it to be
                                                                                         mounted on either side of the enclosure and is
                                                                                         fitted with 2 cam locks and a foam gasket. The
                                                                                         enclosure is also supplied with a gland plate in
                                                                                         the base and a zinc plated mounting plate.
                                                                                         IP66 protection
Rittal                                                                                   Made from sheet steel
                                                                                         Outside of enclosure is dipcoat-primed and
                                                                                         powder coated (RAL 7035 light grey)
                                                                                         Door interchangeable, 130° opening
                                                                                         Door fitted with 2 cam locks and foam gasket
                                                                                         Pre-punched for wall mounting brackets and
                                                                                         interchangeable doors

                                                                                         Approvals and Certifications
                                                                                         IP66 to EN 60 529/10.91, NEMA Type 4.
                                                                                         UL, CSA, TUV, VDE
Devices to be
used




                                                                                         Complete fan unit for tool-free mounting on
                                                                                         surfaces. Air throughput from 20 - 900 m³/h,
                                                                                         protection category IP 54 as standard.
Exhaust Fan-
Rittal                                                                                   Approvals and Certifications
                                                                                         UR/cUR, UL/cUL- FTTA, CSA, EAC




                                                                                         1. Work Voltage: DC12V /DC24V
                                                                                         2. LED QTY: 120Pcs SMD2835
                                                                                         3. PCB width:8MM/10MM, PCB color:white color
Sevice Lights in                                                                         4. Led view angle: 120 degree
Cabinets                                                                                 5. Power comsuption: 20W/M
                                                                                         6. Package: 5M/Reel
                                                                                         7. Luminous Flux: 22-24lum/led
                                                                                         8. CCT Options:2800-3200K/4000-4500K/6000-6500K




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                                                          System pro M compact S200M miniature circuit
                                                          breakers are current limiting. They have two
                                                          different tripping mechanisms, the delayed
                                                          thermal tripping mechanism for overload
                                                          protection and the electromechanic tripping
                                                          mechanism for short circuit protection. They are
                                                          available in different characteristics (B,C,D,K,Z),
                                                          configurations (1P,1P+N,2P,3P,3P+N,4P),
Circuit Breakers-                                         breaking capacities (up to 10 kA at 230/400 V
ABB                                                       AC) and rated currents (up to 63A). All MCBs of
                                                          the product range S200M comply with IEC/EN
                                                          60898-1 and IEC/EN 609 47-2, allowing the use
                                                          for residential, commercial and industrial
                                                          applications. Bottom-fitting auxiliary contact
                                                          can be mounted on S200M to save 50% space.

                                                          Approvals and Certifications
                                                          IEC/EN 60898-1, IEC/EN 60947-2, CCC




                                                           End holes can be used to fix busbar to a
                                                            support or connect the main input conductor
                                                           Heavy-duty power connection
                                                           Circuit breaker, generator and prefabricated
                                                            power network conductor
                                                           Alternative to large and multiple cables
                                                           Earth/ground connection
                                                           Power distribution
Busbars- nVent                                             Rounded edges

                                                          Approvals and Certifications
                                                          UL2885, IEC 60754-1, IEC 62821-2, IEC 60695-2-11
                                                          (Glow Wire Test 960°C), IEC 61439.1, IEC 61439.1
                                                          Class II, CE, RoHS, EN 45545: HL2 classification,
                                                          Bureau Veritas (Marine & Offshore),EAC,ABS
                                                          American Bureau of Shipping




                                                          Typically used in DC power systems in marine
                                                          applications (as a main or branch circuit
                                                          breaker), truck and bus systems, RV systems,
                                                          add-on protection for accessories, lift gates, etc.
Busbars- Eaton                                            This unit is external ignition protected and
                                                          weatherproof.

                                                          Approvals and Certifications
                                                          ABYC E-11; CE; SAE J1171 (ignition protected)




200514JDM01 Lantern Float Quote                                                                 Page 3 of 10
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                                                          Realized about 25% lower profile than
                                                           conventional products, contributing to further
                                                           miniaturization of the control panel.
                                                          Optimal slim, high frequency, high-speed
                                                           opening and closing
                                                          SSR (solid state relay).
                                                          Realized a slim shape with a switching
                                                           capacity up to 3 A (DC), and 2 A (AC).
                                                          Because MOSFET is used for the outlet
                                                           element for the DC load, opening and
                                                           closing load of 100 μA to 3 A is possible.
                                                          Check operating status at a glance at the
SSR- Omron                                                 operating display LED.
                                                          Mounted I/O SSR (solid-state relay) uses plug-
                                                           in terminals that are difficult to bend when
                                                           exchanging.
                                                          G2RV-SR featuring a general-purpose relay
                                                           similar in shape to G3RV-SR also available.

                                                         Approvals and Certifications
                                                         UL 508 (file No.E64562), TÜV(EN 62314), CE




                                                          ProCommander 3: Comprehensive Show
                                                           Control Solution
                                                          Engineered using the highest level of quality
                                                           standards, this controller supports a wide
                                                           variety of industry standard I/Os.
                                                          16 digital outputs at 48VDC/500ma
                                                          16 digital inputs OR 8 digital and 8 analog
                                                          3 RS-232 serial ports (1 RS-485 capable with
                                                           adapter)
                                                          512 channels of DMX in/out
                                                          4 Analog outputs
Controllers-                                              4 servo outputs
Procommander                                              On-board Ethernet
                                                          High power MOSFET Transistors
3
                                                          Mounts in 1/2 rack space
                                                          High powered on-board class-D stereo amp
                                                          Integrated DMX merger with LTP, HTP modes
                                                          Integrated MicroSD storage for
                                                           audio/timeline data
                                                          Battery, solar and charging capable
                                                          8 high powered relays optional
                                                          IR remote control available

                                                         Approvals and Certifications
                                                         CE, EN
                                                          Ethernet
                                                          Mini USB
                                                          LCD-Display
                                                          8x Digital In
                                                          8x Digital Out
                                                          DMX-512 Out
                                                          High Powered Class-D Amplifier
                                                          ArtNet Supported
Contollers- Weigl
                                                          MicroSD Slot
ES                                                        1x 1/8” Audio
                                                          Mounts in 1/4 rack space
                                                          Integrated MicroSD storage for
                                                            audio/timeline data
                                                          High power MOSFET Transistors
                                                         
                                                         Approvals and Certifications
                                                         CE, EN




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                                                          DMX distributor with one input and 4 isolated
                                                           outputs.
                                                          Electrical isolation between input and
                                                           output, and between 4 outputs themselves.
Controllers- DMX                                          Every DMX output features an independent
Booster 4                                                  driver for DMX data (+) & data (-) and shown
                                                           at each indicator.
                                                          DMX booster provides the isolation
                                                           protection from a malfunction caused by the
                                                           external DMX input.




                                                            10-position and 6-position dip switches for
                                                             DMX address, stand-alone functions, output
                                                             channels, and manual dimming
                                                            USITT-DMX512 (1990) multiplexed digital
                                                             control, via 3-pin Phoenix connectors or 3-
                                                             pin XLR connectors
Controllers- DMX
                                                            0-100% fade time and 0.1-30s chasing speed
Controller 3                                                Built-in programs to have it run by itself
                                                            Flicker free
                                                            Ability to AC88-132VAC/AC176-264VAC
                                                             power input standard optional via voltage
                                                             selector
                                                            Power failure memory


                                                                     X-PAR Driver is a high performance
                                                                          driver for driving a range of 1W or
                                                                     3W or 10W LED lighting, with 2
                                                                          individual outputs for RGBW.
                                                                     12-position Dip-switches for DMX
                                                                          address, Stand-alone function,
                                                                          and Output Mode.
Controllers-                                                         USITT DMX512 (1990) multiplexed
                                                                          digital control, via 3-pin Phoenix
PCBA X-PAR                                                                connectors.
Driver                                                               0~100% Fade time and 0.1~30s
                                                                          chasing speed.
                                                                     Built-in programs to have it run by
                                                                          itself
                                                                     Flicking free
                                                                     Input DC24V and provide up to
                                                                          1200mA Constant Current output
                                                                     Power Failure Memory



                                                         The rugged series of TWND switches offers both
                                                         variety and durability in an attractive design.
                                                         With button sizes up to 2 9/16” (65mm), chrome
                                                         plated zinc locking rings, die cast zinc mounting
                                                         threads, steel anti-rotation rings, and self
                                                         cleaning contacts, the TWNDs are here to stay.
                                                         The TWND series also offers LED illumination in full
Switches and
                                                         voltage and transformer models. Regardless of
Indicators- IDEC                                         your switching needs, the NEW TWND series
                                                         provides the kind of long lasting, industrial
                                                         strength quality you’ve come to expect from
                                                         IDEC.

                                                         Approvals and Certifications
                                                         UL-E68961, CSA, TUV, CE, CCC




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                                                             Rich color changing effect
                                                             Very long operation life in excess 50,000
                                                              hours
                                                             Low energy consumption- 12w
Lighting- DOT-80                                             Robust construction suitable for outdoor
or equivalent                                                 application
                                                             Fully controllable by RDM/DMX
For Tassels                                                  Built-in C/C Driver
                                                             DC24V input




                                                          18x3W 6000K CW LEDs,3 channels
                                                          Very long operation life in excess of 50,000
                                                           hours
Light Fixtures-                                           Low energy consumption 60W
SPH-600                                                   Robust construction suitable for outdoor
                                                           application
Inside lanterns                                           Fully controlled by external RDM/DMX C/C
                                                           driver




                                                             High quality SMD LED chip
                                                             UV and flame resistant construction
Lighting-                                                    Extremely flat profile for slimline project
                                                             Perfect uniform and even light source with
Tapelight - F22A
                                                              invisible light dots
                                                             High illumination
                                                             Easily installed
                                                             IP68
                                                             5 year life span




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                                                                                                                                                                                                             —_
                                                                                                                                                                                                            a

                                                                                                                                                                                                       Lagotronics’
                                                                                                                                                                                                           imagine, create, inspire

                                                                                                                                                                              lagotronics




                                   'SHERK AND MADAGASCAR LANTERN




                                                                              SP 600 10c0N CW HAW 225K                                  3                           Shp
                                                                                                                                                                     60 sx           cw sw 2268
                                                                              High power a
                                                                                         o      LED                \                                                Hic
                                                                              30pes(67                       |                      |                  =                        )




                         LIGHTED DECORATION ON SHERK AND MADAGASCAR LANTERN
200526FG01                                                                                                                                                                                       =
                                                                                                                                                                                                —=




                                         MINION LANTERN                                                  LIGHT FIXTURES INSIDE THE LANTERN
                                                                                                                                                               STATIC POLE




                                                                                                                                        lI                    ‘CONTROL BOX 500X400X210 mm




                                          BACK LIGHT                                                              =                              =
                                                                                                                       ®        =            7                 'SHP 600 18X3W CW 54W 2.25A
                                                                                                                                                               High power CREE LED
                                                                                                                                        \                      20pes (45)




                                                                                                                           oo
                               LIGHTED DECORATION ON LANTERN                                          LIGHT FIXTURES ORIENTATION ON METAL FRAME
             200826001                                                                                                                                                                      _

                                                                                                                                                                                    lagotronics




                                                                                                            LIGHTING FIXTURE INSIDE THE LANTERN
                                    KUNG FU PANDA LANTERN

                                                                                         CONTROL BOX 500X400X210 mm    7                             STATIC POLE




                                                                                                                                                            ~—___         SHP 600 18x3W CW 54W 2.25A
                                                                                                                                                                          high power CREE LED
                                                                                                                                                                          30pcs(67.5 A)



                                                                                                                 LIGHTING FIXTURE ON METAL FRAME.
                                LIGHTED DECORATION ON LANTERN


             200514JDM01
             200514JDMO1 Lantern
                         Lantern Float
                                 Float Quote
                                       Quote                                                                                                                                                                         Page
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   C. Price Overview

       Lantern Float
       Activities                         Man      Man hour     Total Man     Labor Cost    Material Cost
                                          Power                 hour          (USD)         (USD)

       Labor
       Project Manager                     1 pax     10 hours      10 hours       415.80
       Supervisor                          1 pax     20 hours      20 hours       346.96
       Mech. Tech                          0 pax      0hours       0 hours          -
       Elec. Tech                          2 pax     80 hours     160 hours      1,667.94
       Programmer                          1 pax     24 hours      24 hours       250.16
       Installation                        2 pax     80 hours     160 hours      1,667.94


       Materials
       Show Controls

                    Sub-system Control                                                         38,145.27

                           Distribution                                                        12,223.54

                            Controllers                                                        21,166.56

                              Network                                                           587.45

       Operations Control Console                                                              1,234.18

                        OCC Switches                                                           1,147.73

                        OCC Indicator                                                           337.78

       Light Fixtures                                                                          65,791.17

       Wiring and Connectors                                                                   47,454.79
       Special Effects (Turntable
                                                                                               5,149.08
       connections)
       Indirect Cost

       Office Cost                                                                              579.58
           Tarlac Site General Cost
        (PM, Transportation, Driver,
             Toll, Daily Allowances,                                                           2,897.91
            Supervisor, Technician,
                       Programmer)
       Packing Materials to Tarlac
                                                                                                144.90
                                  Site
          Import costs of materials,
                                                                                               1,747.20
               Freight, duties, Taxes
       Product Sample/ Prototype
                                                                                               1,014.27
                 Development cost
                Installation Materials                                                         2,173.43




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       Price Summary

                                       Labour      Material     Indirect   Installation
       Floats                                                                                  Total (USD)
                                    cost (USD)   Cost (USD)   Cost (USD)     Materials
       Lantern Float                  4,348.80   193,237.55     6,383.86      2,173.43         206,143.64




       Total Price- Lantern Float                                                         USD 206,143.64
       Less Discount                                                                      USD   1,643.64
       Total Amount                                                                       USD 204,500.00




200514JDM01 Lantern Float Quote                                                                 Page 9 of 10
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   D.    Delivery Terms and Payment
    Exworks Angeles City Pampanga, Philippines
    Validity: 30 days from the date of this quote.
    Prices in USD exclusive VAT.
    Payment:
   * 50% upon ordering, within 7 days from date of invoice. Note that the work starts upon receipt of payment.
   * 50% upon project completion prior to shipping, within 7 days from date of invoice.
    Warranty: 12 months after hand over.
    Components or equipment manufactured by third parties and supplied to the Project will have the original
      manufacturer’s warranty. (like LCD screens, amplifiers, audio control units, loudspeakers, microphones, light equipment
      (Except LEDs, see above) or special effects equipment). When replacement is needed for any reason, Lagotronics Phil.
      Inc is not responsible for original manufacturer’s delivery time.
    This warranty consists of the pure and simple exchange of parts recognized as being defective or of their reconditioning
      in a workshop recommended. Lagotronics Phil. Inc should replace any defective part found during the warranty period
      as promptly as possible. Freight, customs and labor are not included. In case of an extraordinary defect, which requires
      specialist installation works that cannot be performed by BUYER’s maintenance department or cannot be handled
      through computer (internet connection) assistance and/or phone assistance, Lagotronics Phil. Inc and the Buyer will
      discuss the optimum way to resolve the issue.
    Lagotronics Phil. Inc shall provide full documentation of the PRODUCT during Factory Acceptance Test (FAT) and within 4
      weeks after Site Acceptance Test (SAT) “As build” updates. During set-up and programming we will include a 1-day
      training for the maintenance personnel on-site to take care of repairs and replacement of equipment.
    The warranty is declared null and void in case that:
      a.            BUYER or third party modifies the EQUIPMENT without Lagotronics Phil. Inc authorization;
      b.            BUYER proceeds to modify, alter or repair a defect without Lagotronics Phil. Inc authorization;
      c.            BUYER fails to take proper and quick action to limit the damage;
      d.            BUYER doesn’t grant Lagotronics Phil. Inc the opportunity to remove/remedy the defect.
    Lagotronics Phil. Inc is not responsible under this clause for any defects, which are due to vandalism or
      BUYER’s’ non-compliance to material written instructions.
    Lagotronics Phil. Inc warrants that the EQUIPMENT and equipment documentation as delivered shall be free from any
      and all defects in design, material, fabrication and workmanship, and that the EQUIPMENT and equipment
      documentation shall confirm to the description, specifications, specific considerations, fabrication criteria, and standards
      stated herein. Lagotronics Phil. Inc further warrants that the EQUIPMENT shall be of first class quality and fit for the purpose
      for which intended;
    Assembly work and assembly materials at theme park site are NOT included. The unit will be assembled in Angeles for
      FAT. Please see separate quote for on-site installation option.
    Any extra work and/or materials will be charged after written permission from the customer in accordance with the
      applicable rates at the time of commitment/purchase.
    All drawings and/or quotations and/or designs remain the property of Lagotronics Phil. Inc and may not be handed over
      to third parties for any purpose whatsoever.
       This agreement shall be governed by Philippine Law.




Carlo Görtjes
President




Barry Kern/ Caskey Miller
Blain Kern Artists




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Kern Studios LLC                                                                                Lagotronics Philippines Inc.
1380 Port of New Orleans Place                                                                  Sitio Cubol,
                                                                                                BarangaySapalibutad
New Orleans, LA 70130                                                                           2009 Angeles City
Attn: Caskey Miller                                                                             Pampanga, Philippines
Email: caskey@kernstudios.com
                                                                                                Contact Details:
                                                                                                Netherlands:
                                                                                                Tel.: +31 653 122 579 (NL)
                                                                                                carlo.gortjes@lgholding.nl

                                                                                                Philippines:
                                                                                                sales@lagotronics.ph
                                                                                                jdm09.lagotronics.ph@gmail.com

                                                                                                Tel.: +63 917 176 2378 (PHL)
                                                                                                www.lagotronics.ph

Philippines, 14 May 2020                    Your ID: Caskey Miller                        Project: KERN-UBR Floats
                                            Our ID: Carlo Gortjes                         Subject: 200514JDM01 Afro Circus
                                                                                          Tent Quote

    A.   General
         As a part of the Universal Beijing Floats project, Universal Studios asked Kern Studios to send a proposal in building Afro
         Circus Tent with float number 719-602-FLT-020.

    B.   Scope of Works

         1.   Afro Circus Tent

              a.   Inclusions
                             Assembly of SCC/OCC box as per UBR standards
                             Installation of boxes and laying of cables in the float
                             Installation of lights in the floats (Show light and Character Lighting)
                             Initial programming
                             FAT (Factory Acceptance Test) (see quote 200430JDM01 UBR Float- FAT quote)
                             Final programming upon FAT to be directed by UBR (see quote 200430JDM01 UBR Float- FAT quote)

              b.   Labour Breakdown

                                                                                 Man power             Man hours             Total Man hours
                   Project Manager                                                 1 pax                10 hours                 10 hours
                   Supervisor                                                      1 pax                20 hours                 20 hours
                   Mechanical Technician                                           2 pax                80 hours                160 hours
                   Electronics Technician                                          2 pax                80 hours                160 hours
                   Programmer                                                      1 pax                24 hours                 24 hours
                   Installation                                                    2 pax                80 hours                160 hours
                                                                      Total                                                     534 hours

              c.   Exclusions
                             SAT (Site Acceptance Test) to be done in Beijing, China
                             Installation on-site (Beijing, China)




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                d.   Materials Overview
                     In reference to the DDR documents of Afro Circus Tent as of May 14, 2020

Enclosure
                                                                                          IP66 Sheet Steel Wall Boxes, AE series
                                                                                          The AE series wall box from Rittal has a strong
                                                                                          unibody construction which has been dipcoat-
                                                                                          primed and powder coated in a textured light
                                                                                          grey finish for added corrosion protection. The
                                                                                          door is interchangeable allowing it to be
                                                                                          mounted on either side of the enclosure and is
                                                                                          fitted with 2 cam locks and a foam gasket. The
                                                                                          enclosure is also supplied with a gland plate in
                                                                                          the base and a zinc plated mounting plate.
                                                                                          IP66 protection
Rittal                                                                                    Made from sheet steel
                                                                                          Outside of enclosure is dipcoat-primed and
                                                                                          powder coated (RAL 7035 light grey)
                                                                                          Door interchangeable, 130° opening
                                                                                          Door fitted with 2 cam locks and foam gasket
                                                                                          Pre-punched for wall mounting brackets and
                                                                                          interchangeable doors

                                                                                          Approvals and Certifications
                                                                                          IP66 to EN 60 529/10.91, NEMA Type 4.
                                                                                          UL, CSA, TUV, VDE
Devices to be
used




                                                                                          Complete fan unit for tool-free mounting on
                                                                                          surfaces. Air throughput from 20 - 900 m³/h,
                                                                                          protection category IP 54 as standard.
Exhaust Fan-
Rittal                                                                                    Approvals and Certifications
                                                                                          UR/cUR, UL/cUL- FTTA, CSA, EAC




Service Lights-                                                                            Ideal halogen replacement for an easy
Hella ECO18 LED                                                                             conversion
                                                                                           Compact size and universal shape
/ ECO26 LED
(Dimmable)                                                                                 Also available as a reversing light




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                                                          System pro M compact S200M miniature circuit
                                                          breakers are current limiting. They have two
                                                          different tripping mechanisms, the delayed
                                                          thermal tripping mechanism for overload
                                                          protection and the electromechanic tripping
                                                          mechanism for short circuit protection. They are
                                                          available in different characteristics (B,C,D,K,Z),
                                                          configurations (1P,1P+N,2P,3P,3P+N,4P),
Circuit Breakers-                                         breaking capacities (up to 10 kA at 230/400 V
ABB                                                       AC) and rated currents (up to 63A). All MCBs of
                                                          the product range S200M comply with IEC/EN
                                                          60898-1 and IEC/EN 609 47-2, allowing the use
                                                          for residential, commercial and industrial
                                                          applications. Bottom-fitting auxiliary contact
                                                          can be mounted on S200M to save 50% space.

                                                          Approvals and Certifications
                                                          IEC/EN 60898-1, IEC/EN 60947-2, CCC




                                                           End holes can be used to fix busbar to a
                                                            support or connect the main input conductor
                                                           Heavy-duty power connection
                                                           Circuit breaker, generator and prefabricated
                                                            power network conductor
                                                           Alternative to large and multiple cables
                                                           Earth/ground connection
                                                           Power distribution
Busbars- nVent                                             Rounded edges

                                                          Approvals and Certifications
                                                          UL2885, IEC 60754-1, IEC 62821-2, IEC 60695-2-11
                                                          (Glow Wire Test 960°C), IEC 61439.1, IEC 61439.1
                                                          Class II, CE, RoHS, EN 45545: HL2 classification,
                                                          Bureau Veritas (Marine & Offshore),EAC,ABS
                                                          American Bureau of Shipping




                                                          Typically used in DC power systems in marine
                                                          applications (as a main or branch circuit
                                                          breaker), truck and bus systems, RV systems,
                                                          add-on protection for accessories, lift gates, etc.
Busbars- Eaton                                            This unit is external ignition protected and
                                                          weatherproof.

                                                          Approvals and Certifications
                                                          ABYC E-11; CE; SAE J1171 (ignition protected)




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                                                          Realized about 25% lower profile than
                                                           conventional products, contributing to further
                                                           miniaturization of the control panel.
                                                          Optimal slim, high frequency, high-speed
                                                           opening and closing
                                                          SSR (solid state relay).
                                                          Realized a slim shape with a switching
                                                           capacity up to 3 A (DC), and 2 A (AC).
                                                          Because MOSFET is used for the outlet
                                                           element for the DC load, opening and
                                                           closing load of 100 μA to 3 A is possible.
                                                          Check operating status at a glance at the
SSR- Omron                                                 operating display LED.
                                                          Mounted I/O SSR (solid-state relay) uses plug-
                                                           in terminals that are difficult to bend when
                                                           exchanging.
                                                          G2RV-SR featuring a general-purpose relay
                                                           similar in shape to G3RV-SR also available.

                                                         Approvals and Certifications
                                                         UL 508 (file No.E64562), TÜV(EN 62314), CE




                                                          ProCommander 3: Comprehensive Show
                                                           Control Solution
                                                          Engineered using the highest level of quality
                                                           standards, this controller supports a wide
                                                           variety of industry standard I/Os.
                                                          16 digital outputs at 48VDC/500ma
                                                          16 digital inputs OR 8 digital and 8 analog
                                                          3 RS-232 serial ports (1 RS-485 capable with
                                                           adapter)
                                                          512 channels of DMX in/out
                                                          4 Analog outputs
Controllers-                                              4 servo outputs
Procommander                                              On-board Ethernet
                                                          High power MOSFET Transistors
3
                                                          Mounts in 1/2 rack space
                                                          High powered on-board class-D stereo amp
                                                          Integrated DMX merger with LTP, HTP modes
                                                          Integrated MicroSD storage for
                                                           audio/timeline data
                                                          Battery, solar and charging capable
                                                          8 high powered relays optional
                                                          IR remote control available

                                                         Approvals and Certifications
                                                         CE, EN
                                                          Ethernet
                                                          WEM-NET
                                                          Mini USB
                                                          LCD-Display
                                                          RS-232
                                                          RS-485
                                                          DMX-512 In
                                                          ArtNet Support
                                                          Software configurable
Contollers- Weigl                                         Extensive ASCII-protocol for a wide range of
Pro I/O                                                     control options
                                                          Hardware interface for any kind of pc
                                                            related control programs
                                                          19” rack mount adapter and Din-rail mount
                                                            available
                                                          Support for Weigl Digital Motor Library (where
                                                            applicable)

                                                         Approvals and Certifications
                                                         CE, EN




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                                                          DMX distributor with one input and 4 isolated
                                                           outputs.
                                                          Electrical isolation between input and
                                                           output, and between 4 outputs themselves.
Controllers- DMX                                          Every DMX output features an independent
Booster 4                                                  driver for DMX data (+) & data (-) and shown
                                                           at each indicator.
                                                          DMX booster provides the isolation
                                                           protection from a malfunction caused by the
                                                           external DMX input.




                                                            DMX distributor with 1 input and 6 individual
                                                             output
                                                            Electrical isolation between input and
                                                             output, and between 6 outputs themselves
Controllers- DMX                                            Every DMX output features an independent
Booster 6                                                    for DMX data (+) and data (-) and shown at
                                                             each indicator
                                                            DMX booster provides the isolation
                                                             protection from a malfunction caused by
                                                             the external DMX input.




                                                            High performance driver with 1W to 3W LED
                                                             lighting with 4 individual outputs and RJ45
                                                             sockets for RGBA
                                                            USITT DMX512(1990) multiplexed digital
                                                             control, via 3-pin Phoenix connectors
                                                            10 position and 6 position Dip-switches for
                                                             DMX address, Stand-alone, manual
Controllers- DMX
                                                             dimming, and output mode
Driver MR                                                   0-100% fade time and 0.1-30s chasing speed
                                                            Built-in programs to have it run by itself
                                                            Flicker free
                                                            Ability to AC88-132VAC/AC176-264VAC
                                                             power input standard optional via voltage
                                                             selector
                                                            Power failure memory




                                                            10-position and 6-position dip switches for
                                                             DMX address, stand-alone functions, output
                                                             channels, and manual dimming
                                                            USITT-DMX512 (1990) multiplexed digital
                                                             control, via 3-pin Phoenix connectors or 3-
                                                             pin XLR connectors
Controllers- DMX
                                                            0-100% fade time and 0.1-30s chasing speed
Controller 3                                                Built-in programs to have it run by itself
                                                            Flicker free
                                                            Ability to AC88-132VAC/AC176-264VAC
                                                             power input standard optional via voltage
                                                             selector
                                                            Power failure memory




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                                                             The rugged series of TWND switches offers both
                                                             variety and durability in an attractive design.
                                                             With button sizes up to 2 9/16” (65mm), chrome
                                                             plated zinc locking rings, die cast zinc mounting
                                                             threads, steel anti-rotation rings, and self
                                                             cleaning contacts, the TWNDs are here to stay.
                                                             The TWND series also offers LED illumination in full
Switches and
                                                             voltage and transformer models. Regardless of
Indicators- IDEC                                             your switching needs, the NEW TWND series
                                                             provides the kind of long lasting, industrial
                                                             strength quality you’ve come to expect from
                                                             IDEC.

                                                             Approvals and Certifications
                                                             UL-E68961, CSA, TUV, CE, CCC




                                                                Rich color changing effect
                                                                Very long operation life in excess of 50,000
                                                                 hours
Lighting- X-                                                    Low energy consumption 60W
AR160                                                           Robust construction suitable for outdoor
                                                                 application
                                                                Fully controlled by external RDM/DMX C/C
                                                                 driver




                                                                High power CreeLED with 50,000 hours
Lighting- BLZ-52                                                 operating time.




                                                                High quality SMD LED chip
                                                                UV and flame resistant construction
                                                                Extremely flat profile for slimline project
Lighitng-                                                       Perfect uniform and even light source with
Tapelight - F22A                                                 invisible light dots
                                                                High illumination
                                                                Easily installed
                                                                IP68
                                                                5 year life span




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Animated                                                             Wide speed range, flat torque
Figure-                                                              Great speed regulation
                                                                     Easy to set speed control
BLVM640NM-
GFS, Brushless                                            Approvals and Certifications
DC Motor                                                  CE, RoHS




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   C. Price Overview

       Afro Circus Tent
       Activities                         Man      Man hour     Total Man     Labor Cost    Material Cost
                                          Power                 hour          (USD)         (USD)

       Labor
       Project Manager                     1 pax     10 hours      10 hours       415.80
       Supervisor                          1 pax     20 hours      20 hours       346.96
       Mech. Tech                          2 pax     80 hours     160 hours      1,667.94
       Elec. Tech                          2 pax     80 hours     160 hours      1,667.94
       Programmer                          1 pax     24 hours      24 hours       250.16
       Installation                        2 pax     80 hours     160 hours      1,667.94


       Materials
       Show Controls

                    Sub-system Control                                                         32,029.89

                           Distribution                                                        7,613.94

                            Controllers                                                        17,338.55

                              Network                                                           747.59

       Operations Control Console                                                              1,234.18

                        OCC Switches                                                            955.45

                        OCC Indicator                                                           375.02

       Light Fixtures                                                                          35,995.12

       Wiring and Connectors                                                                   32,903.57

       Animated Figure                                                                         1,532.95

         Melman Neck Movement                                                                  8,165.22

       Indirect Cost

       Office Cost                                                                              579.58
           Tarlac Site General Cost
        (PM, Transportation, Driver,
             Toll, Daily Allowances,                                                           2,897.91
            Supervisor, Technician,
                       Programmer)
       Packing Materials to Tarlac
                                                                                                144.90
                                  Site
          Import costs of materials,
                                                                                               1,747.20
               Freight, duties, Taxes
       Product Sample/ Prototype
                                                                                               1,014.27
                 Development cost
                Installation Materials                                                         2,173.43




200514JDM01 Afro Circus Tent Quote                                                                   Page 8 of 10
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       Price Summary

                                          Labour      Material     Indirect   Installation
       Floats                                                                                     Total (USD)
                                       cost (USD)   Cost (USD)   Cost (USD)     Materials
       Afro Circus Tent                  6,016.74   138,891.48     6,383.86      2,173.43         153,465.51




       Total Price- Afro Circus Tent                                                         USD 153,465.51
       Less Discount                                                                         USD   1,465.51
       Total Amount                                                                          USD 152,000.00




200514JDM01 Afro Circus Tent Quote                                                                 Page 9 of 10
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   D.    Delivery Terms and Payment
    Exworks Angeles City Pampanga, Philippines
    Validity: 30 days from the date of this quote.
    Prices in USD exclusive VAT.
    Payment:
   * 50% upon ordering, within 7 days from date of invoice. Note that the work starts upon receipt of payment.
   * 50% upon project completion prior to shipping, within 7 days from date of invoice.
    Warranty: 12 months after hand over.
    Components or equipment manufactured by third parties and supplied to the Project will have the original
      manufacturer’s warranty. (like LCD screens, amplifiers, audio control units, loudspeakers, microphones, light equipment
      (Except LEDs, see above) or special effects equipment). When replacement is needed for any reason, Lagotronics Phil.
      Inc is not responsible for original manufacturer’s delivery time.
    This warranty consists of the pure and simple exchange of parts recognized as being defective or of their reconditioning
      in a workshop recommended. Lagotronics Phil. Inc should replace any defective part found during the warranty period
      as promptly as possible. Freight, customs and labor are not included. In case of an extraordinary defect, which requires
      specialist installation works that cannot be performed by BUYER’s maintenance department or cannot be handled
      through computer (internet connection) assistance and/or phone assistance, Lagotronics Phil. Inc and the Buyer will
      discuss the optimum way to resolve the issue.
    Lagotronics Phil. Inc shall provide full documentation of the PRODUCT during Factory Acceptance Test (FAT) and within 4
      weeks after Site Acceptance Test (SAT) “As build” updates. During set-up and programming we will include a 1-day
      training for the maintenance personnel on-site to take care of repairs and replacement of equipment.
    The warranty is declared null and void in case that:
      a.            BUYER or third party modifies the EQUIPMENT without Lagotronics Phil. Inc authorization;
      b.            BUYER proceeds to modify, alter or repair a defect without Lagotronics Phil. Inc authorization;
      c.            BUYER fails to take proper and quick action to limit the damage;
      d.            BUYER doesn’t grant Lagotronics Phil. Inc the opportunity to remove/remedy the defect.
    Lagotronics Phil. Inc is not responsible under this clause for any defects, which are due to vandalism or
      BUYER’s’ non-compliance to material written instructions.
    Lagotronics Phil. Inc warrants that the EQUIPMENT and equipment documentation as delivered shall be free from any
      and all defects in design, material, fabrication and workmanship, and that the EQUIPMENT and equipment
      documentation shall confirm to the description, specifications, specific considerations, fabrication criteria, and standards
      stated herein. Lagotronics Phil. Inc further warrants that the EQUIPMENT shall be of first class quality and fit for the purpose
      for which intended;
    Assembly work and assembly materials at theme park site are NOT included. The unit will be assembled in Angeles for
      FAT. Please see separate quote for on-site installation option.
    Any extra work and/or materials will be charged after written permission from the customer in accordance with the
      applicable rates at the time of commitment/purchase.
    All drawings and/or quotations and/or designs remain the property of Lagotronics Phil. Inc and may not be handed over
      to third parties for any purpose whatsoever.
       This agreement shall be governed by Philippine Law.




Carlo Görtjes
President




Barry Kern/ Caskey Miller
Blain Kern Artists




200514JDM01 Afro Circus Tent Quote                                                                                         Page 10 of 10
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 Kern Studios LLC
                                                                                 Lagotronics’  imagine, create, inspire
 1380 Port of New Orleans Place                                                   Lagotronics Philippines Inc.:
                                                                                  Warehouse no. 5
 New Orleans, LA 70130
                                                                                  Themebuilders compound
                                                                                  Sitio Qubal, Brgy. Sapafbutad
                                                                                  2009 Angekes City, Panpanga
 Attn. : Barry Kern / Caskey Miller                                                Philippines
 Tel. : +1504-527-0395
                                                                                  Contact Details:
 Tel. : +1504-321-6054
                                                                                  carlo.gortjes@lghokdings.nl
 Tel. : +1504-442-1394                                                            sales@lagotronics.ph
                                                                                  jcb.lagotronics.oh @gmail.com
 Email: barry@kernstudios.com
                                                                                  jdm09.lagotronics.pbh@qmailcom
 Email:caskey@kernstudios.com                                                     applemiralles |.lagotronics:ph@gmailcom

                                                                                  Tel.: +63 917 176 2378 (PHL)
                                                                                  Mobile No. 0945-346-0692
                                                                                  www lagotronics.ph
                                                                                  Vat Number: 007-962-1 47-000 (PHL)




   Angeles City, May 20, 2020                   Your |ID:   Barry Kern             Project:KERN-UBR FLOATS
   Order No. 20200520APS01                       Our ID:    Carlo Gortjes


                          ACKNOWLEDGEMENT AND ACCEPTANCE OF ORDER

We are in receipt of your order as detailed below:


    ITEM NO.               QUOTE   NO.                      DESCRIPTION                                  AMOUNT

             ]            200331JDMO1_|     PONIES (A, B, C)                                               USD 87,300.00
             2            200424JDMO1     | GLORIA'S BALLOON                                               USD 76,300.00
             3            200424JDMO2     | KING JULIEN FLOAT                                              USD 62,200.00
             4            200424JDMO3_|     MASTER OX FLOAT                                                USD 39,100.00
             5            200424JDM04     | ONION COACH                                                    USD 51,100.00
             6            200424JDMOS     | MR. PING FLOAT                                                 USD 36,600.00
             7            200507JDMO1_|     YELLOW CART FLOAT                                              USD 80,400.00
             8            200514JDMO1     | LANTERN FLOAT                                                USD 204,500.00
             9            200514JDMO1_    | AFRO CIRCUS TENT                                              USD 152,000.00
                                                                              SUBTOTAL                   USD 789,500.00
                                              LESS: 5% DISCOUNT FROM CONTINGENCY                           USD 39,475.00
                                                                              SUBTOTAL                   USD 750,025.00
                                                                LESS: EXTRA DISCOUNT                       USD 11,501.00
                                                                        TOTAL AMOUNT                     USD 738,524.00


PAYMENT          TERMS:

 First Payment:                      USD 250,000.00 down payment upon ordering, within 7 days from the
                                     date of invoice.
 Second Payment:                     USD 250,000.00 during the first big shipment of parts from Holland to PH
                                     which is 2-3 wks from now. Payment should be arrange within 7 days from
                                     the date of invoice.
 Succeeding Payments:                USD 21,684.00 after hand over of each float, within 7 days from the date
                                     ofinvoice. Hand over refers to the completion of Facility Acceptance Test
                                     in PH.




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                                                                                                                       y
                                                                                                         we
                                                                                                           —_,


                                                                                            Lagotronics’
                                                                                                       imagine, create, inspire



Declaration:

By signing below, we/| hereby confim that all information given above is true and correct. We/I| agree
to observe and to be bound by the terms and conditions of this Agreement.




            Carlo Gértjes
Lagotronics, Phils., Inc. /President




Certification:

| hereby certify this claimis comect
                                  and just in all respects and that paymentor credithas not beenreceived:




Judith Buela
Financial Department
Lagotronics Philipines Incorporated

For any questionsregarding this invoice contact Carlo Gérljes +316531 22579 or Judith Buela +6345 624 7098

BANK DETAILS:




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      Kern Studios LLC
      1380 Port of New Orleans Place
                                                                                                    Lagotronics’ imagine, create, inspire
                                                                                                    Lagotronics Philippines Inc.:
      New Orleans, LA 70130                                                                         Warehouse no. 5
                                                                                                    Themebuilders compound
                                                                                                    Sitio Cuba, Brgy. Sapafbutad
  Attn. : Barry Kern / Caskey Miller                                                                2009 Angeles City, Pampanga
                                                                                                     Philippines
  Tel. : +1504-527-0395
  Tel. : +1504-321-6054                                                                             Contact Details:
  Tel. : +1504-442-1394                                                                             carlo.gortjes@Igholdings.nl
                                                                                                    sales @lagotronics.ph
  Email: barry@kernstudios.com                                                                      icb.lagotronics.ph @gmail.com
  Email: caskey@kernstudios.com                                                                     jdm09.lagotronics.ph@gmailcom
                                                                                                    applemiralles 1.lagotronicsph@gmailcom

                                                                                                    Tel.: +63 917 176 2378 (PHL)
                                                                                                    Mobile No. 0945-346-0692
                                                                                                    www lagotronics.ph
                                                                                                    Vat Number: 007-962-147-000 (PHL)




       Angeles City, May 20, 2020               Your|ID:     Barry Kern                    Project: KERN -R&D
       Credit Note: 20200520APSO01                Our|ID:    Carlo Gortjes



         DATE           QUOTE   NO.             DESCRIPTION                    S.1. NO.            AMOUNT


      20-Feb-20      | 190526CGO1 | Rap FOR MARCH 2020                     200220JCB01       | $       9,865.00
      21-Mar-20      | 170526CGO1 | Rap FOR APRIL 2020                    200320JCB01        | $      9,865.00
      23-Apr-20      | 190526CGO1 | Rab FOR MAY 2020                      200423JCBO1        | $      9,865.00
                                                                     TOTAL AMOUNT              $     29,595.00




Certification:

| hereby certify this claimis correct
                                  and just in all respects and that paymentor credithas not beenreceived:
  .




      a
Judith Buela
Financial Department
Lagotronics Philippines Incorporated


For any questionsregarding this invoice contact Carlo Gérljes+316531 22579 or Judith Buela +6345 624 7098

BANK      DETAILS:




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                                                                                                                                         /




    Kern Studios LLC
    1380 Port of New Orleans Place
                                                                                                       Lagotronics’   imagine, create, inspire
                                                                                                        Lagotronics Philippines Inc.:
    New Orleans, LA 70130                                                                               Warehouse no. 5
                                                                                                        Themebuilders compound
                                                                                                        Sitio Cubol, Brgy. Sapalibutad
   Attn. : Barry Kern / Caskey Miller                                                                   2009 Angeles City, Pampanga
   Tel. : +1504-527-0395                                                                                 Philippines

   Tel. : +1504-321-6054                                                                                Contact Details:
   Tel. : +1504-442-1394                                                                                caro.gortjes@lgholdings.nl
                                                                                                        sales@lagotronics.ph
    Email: barry@kernstudios.com                                                                        jcb.lagotronics.ph@gmail.com
    Email: caskey@kernstudios.com                                                                       jdm09.lagotronics.pbh@gmail.com
                                                                                                        applemiralles1.lagotronics.pbh@gmail.com

                                                                                                       Tel.: +63 917 176 2378 (PHL)
                                                                                                       Mobile No. 0945-346-0692
                                                                                                       www. lagotronics.ph
                                                                                                       Vat Number: 007-962-147-000 (PHL)



Angeles City, May 15, 2020                  Your ID:   | Caskey Miller                  Project: KERN-UBR Floats
 Invoice: 200515APS04                       Our ID:      Carlo Gortjes                  Reference: 200515JDMO01 Scope Gap
                                                                                        Quote Rev03

 Floats                                                                                              Amount
 Pony A                                                                                           USD 3,654.95
 Pony B                                                                                           USD 3,654.95
Pony C                                                                                            USD 3,654.95
Master Ox Float                                                                                   USD 3,654.95
Gloria's Balloon                                                                                  USD 3,654.95
King Julien’s Float                                                                               USD 3,654.95
Shrek's Yellow Cart                                                                               USD 3,654.95
Shreks’ Onion coach                                                                               USD 3,654.95
Mr. Ping Float                                                                                    USD 3,654.95
Lantern Float                                                                                     USD 3,654.95
Afro Circus Tent                                                                                  USD 3,654.95
Audio Rack (7 units)                                                                              USD   567.56
Total Scope Gap                                                                                  USD 40,772.01
Less Discount                                                                                    USD = 572.01
TOTAL AMOUNT                                                                                     USD 40,200.00

TOTAL AMOUNT         for the 50% DP of USD 40,200. 00                                           USD 20,100.00

TOTAL AMOUNT         DUE THIS BILLING                                                           USD 20,100.00


Certification:

| hereby certify this claim is correct and just in all respects and that payment or credit has not been received:

   Cehte
Judith Beula
Financial Department
Lagotronics Philippines Incorporated

For any questions regarding this invoice contact Carlo Gérljes +31653122579 or Judith Buela +63 45 624 7098


BANK DETAILS:




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